Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 1 of 65 Page ID #:9




                           EXHIBIT A
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 2 of 65 Page ID #:10


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       1   CALLAHAN & BLAINE, APLC                                              Suportor Court ol Cafifomla
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           Daniel J. Callahan (Bar No. 91490)               '
       2   Edward Susolik (Bar No. 151081)                                         MAY 22 2018
           Richard T. Collins (Bar No. 166577)          .
       3   Damon D. Eisenbrey (Bar No. 215927)                        Steri R. Caitsr, Executive Officai'Cteto of Court
           3 Hutton Centre Drive, Ninth Floor                                By: Brittny Smith, Deputy
       4   Santa Ana, California 92707
           Telephone: (714) 241-4444
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       6 Attorneys for Plaintiff PATRICIA MITCHELL,
         individually as successor in interest to Chase Frei,
       7 and on behalf of all others similarly situated
       8                                 SUPERIOR COURT OF CALIFORNIA

       9                                       COUNTY OF LOS ANGELES

      10

      11  PATRICIA MITCHELL, individually as                    CASENOP^ ? 0 6917
          successor in interest to Chase Frei,
      1 2 and on behalf of all others similarly situated,

      13                          Plaintiff,                    COMPLAINT
      14          v.

      15   HEALTH NET, INC., a Delaware
           corporation;
      16   HEALTH NET LIFE INSURANCE
           COMPANY, a California corporation;
      17   HEALTH NET OF CALIFORNIA, INC., a                    Complaint Filed:
           California coiporation;                              Trial Date:
     18    MANAGED HEALTH NETWORK, INC., a
           Delaware cotporation;
      19   CENTENE CORPORATION, a Delaware
           corporation; and DOES 1 through 100,
     20    inclusive,

      21                          Defendants.                                                BY FAX

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                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 3 of 65 Page ID #:11




     1             Plaintiff PATRICIA MITCHELL, individually as successor in interest to Chase Frei,

     2   and on behalf of all others similarly situated, brings this action against Defendants HEALTH

     3 NET, INC., a Delaware corporation; HEALTH NET LIFE INSURANCE COMPANY, a                            .

     4   California corporation; HEALTH NET OF CALIFORNIA, INC., a California corporation;

     5 MANAGED HEALTH NETWORK, INC., a Delaware corporation; CENTENE

     6 CORPORATION, a Delaware corporation (collectively "Health Net"), and hereby alleges the
     7 following on information and belief, except as to those allegations that pertain to Ms. Mitchell,

     8   which are alleged on personal knowledge:

     9                                              THE PARTIES

    10             1.    Plaintiff is a citizen of the State of California and resides in San Joaquin County.

    11   During the relevant times alleged in this Complaint, Plaintiff resided in Alameda County.

    12             2.    Plaintiff is the mother of Chase Frei, bom on September 1, 1994, who passed away

    13   on May 6, 2017 (the "Decedent"). The Decedent died intestate and no assets of the Decedent

    14   required probate. Plaintiff's declaration and a certified copy of Decedent's death certificate are

    15   attached hereto as Exhibit A.

    16             3.    No proceeding is now pending in California for the administration of Decedent's

    17   estate.                                            .                                                   •

    18             4.    Plaintiff is Decedent's successor in interest as defined by Code of Civil Procedure

    19 section 377.11, and as provided by Insurance Code section 10130 and Probate Code section 6402,

    20   and succeeds to Decedent's interests in this action.

    21             5.    No person other than Plaintiff has a superior right to commence this action or to be

    22   substituted for Decedent in this action.

    23             6.    Defendant Health Net, Inc. ("HNI") is, and was at all times relevant to this action, a

    24   corporation duly organized and existing under the laws of the State of Delaware, with its principal

    25   place of business located in Woodland Hills, California. HNI is authorized to conduct business as

    26   a health care service plan and health care insurer, and transacts, and is transacting, the business of

    27   providing health plans to consumers throughout California.

    28             7.    Defendant Health Net Life Insurance Company ("HNLIC") is, and was at all times

                                                        12:

                                                    COMPLAINT                         .
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 4 of 65 Page ID #:12




      1   relevant to this action, a corporation duly organized and existing under the laws of the State of

      2 California, with its principal place of business located in Woodland Hills, California. HNLIC is
      3 authorized to conduct business as a health care service plan and health care insurer, and transacts,

      4   and is transacting, the business of providing health plans to consumers throughout California.

      5          8.      Defendant Health Net of California, Inc. ("HNCI") is, and was at all times relevant

      6   to this action, a corporation duly organized and existing under the laws of the State of California,

      7   with its principal place of business located in Woodland Hills, California. HNCI is authorized to

      8   conduct business as a health care service plan and health care insurer, and transacts, and is

      9   transacting, the business of providing health plans to consumers throughout California.

    10           9.      Defendant Managed Health Network, Inc. ("MHNI") is, and was at all times

    11    relevant to this action, a corporation duly organized and existing under the laws of the State of

    12    Delaware, with its principal place of business located in Woodland Hills, California. MHNI is

    13    authorized to conduct business as a health care service plan and health care insurer, and transacts,

     14   and is transacting, the business of providing health plans to consumers throughout California.

    15           10.     Defendant Centene Corporation ("Centene") is, and was at all times relevant to this

    16    action, a corporation duly organized and existing under the laws of the State of Delaware, with its

    17    principal place of business located in St. Louis, Missouri. Centene is authorized to conduct

    18    business as a health care service plan and health care insurer, and transacts, and is transacting, the

    19    business of providing health plans to consumers throughout California.

    20           11.     Centene acquired HNI, HNCI, HNLIC, and MHNI through merger in 2015, which

    21    was approved by the California Department of Managed Health Care ("DMHC") and the

    22    California Department of Insurance ("CDr) in 2016, and is now the parent company or successor

    23    in interest of, and thereby liable for the acts and omissions of HNI, HNCI, HNLIC, and MHNI.

    24           12.     Plaintiff does not know the true names and capacities of defendants sued as DOES

    25    1 through 100, inclusive, and therefore sue such defendants with such fictitious names. Plaintiff

    26    will amend this complaint, if necessary, to allege their true names and capacities when they have

    27    been ascertained. Plaintiff is informed and believes that each of the named and fictitiously named

    28    defendants are in some way involved in and responsible for the events, transactions, or

                                                       -3-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 5 of 65 Page ID #:13




      1   occurrences alleged in the complaint, as well as the damages caused to Plaintiff. DOES 1 through

      2   100 are included in the references throughout this complaint to HNI, HNCI, HNLIC, MHNI, and

      3   Centene, as appropriate.

      4           13.     Each of the defendants is, and was at all times relevant to this action, the agent,

      5   servant, representative, or alter ego of each of the other defendants, and in doing the things

      6 hereinafter alleged, each of the defendants was acting in the scope of its authority as such agent,
      7 servant, representative, or alter ego, and with the permission and consent of each of the other

      8   defendants.

     9            14.     Each of the defendants formed and operated a conspiracy with each of the other

    10    defendants to perform the acts alleged herein, in furtherance of a common design and with

     11   knowledge that the conduct alleged herein of each of the defendants constituted breaches of duty

     12   and provided substantial assistance or encouragement to each other to so act.

    13           15.     Defendants HNI, HNCI, HNLIC, MHNI, Centene and DOES 1 through 100,

    14    inclusive, and each of them, are collectively referred to herein as "Health Net," unless referred to

    15    in their individual capacities.

    16                                      JURISDICTION AND VENUE

    17           16.     This Court has jurisdiction over this action under Article VI, section 10 of the

    18    California Constitution and section 410.10 of the Code of Civil Procedure. Jurisdiction is also

    19    proper under California Business and Professions Code section 17200, et seq. and California Civil

    20    Code section 1750, et seq.

    21           17.     This Court has jurisdiction over Health Net, as a resident of the State of California,

    22    and because Health Net has purposely availed itself of the privilege of conducting business

    23    activities in California and currently maintains systematic and continuous business contacts with

    24    this State, with thousands of enrollees who are residents of this State and who do business with

    25    Health Net.

    26           18.     Venue is proper in this Court because, among other things, Health Net's principle

    27    place of business is in the County of Los Angeles, and because Health Net engages and performs

    28    business activities in the County of Los Angeles, and has received substantial profits from


                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 6 of 65 Page ID #:14




      1   consumers who reside in the County of Los Angeles.

      2                                      STATUTORY MANDATES

      3           19.    Enacted in March 2010, the Patient Protection and Affordable Care Act ("ACA")

      4   created new rules applicable to health plans in the United States (PL 111-148, March 23,2010,

      5   124 Stat 119). Under the ACA, states may operate a marketplace, known as an exchange, through

      6 which private health plans are sold to consumers (42 U.S.C. § 18031(b)).
      7           20.    Individuals could purchase health plans through their state's exchange during the

      8   initial six-month 2014 Open Enrollment Period, between October 1,2013 and March 31,2014 (45

      9   C.F.R. § 155.410). Individuals could also purchase health plans directly from health plans during

     10   the 2014 Open Enrollment Period. After the 2014 Open Enrollment Period, individuals could not

     11   purchase health plans until the next enrollment period, beginning November 15,2014 (45 C.F.R §

     12 155.410(e)).
     13          21.     The ACA expressly preserves state laws that offer additional consumer protections

     14   that do not "prevent the application" of any ACA requirement (42 U.S.C. § 18041(d)). State laws

    15    that impose stricter requirements on health plan issuers than those imposed by the ACA are also

    16    not superseded by the ACA.

    17           22.     To further the goals of ensuring that consumers are educated and informed about

    18    the coverage and benefits and enabling consumer choice in the market place, regulations

    19    promulgated pursuant to the Insurance Code require that advertisements for health plans "shall be

    20    truthful and not misleading in fact or in implication." Cal. Code Regs. Title 10 ["10 CCR"J §

    21    2536.1(b).

    22           23.     Insurance Code sections 10603 and 10604 require health plans to "provide, in

    23    easily understood language and in a uniform, clearly organized manner" information including the

    24    "principal benefits and coverage of the disability insurance policy" and the "exceptions,

    25    reductions, and limitations that apply to such policy."

    26           24.     Insurance Code section 10133.5 requires "that insureds have opportunity to access

    27    needed health care services in a timely manner" ... "to assure accessibility of provider services in

    28    a timely manner to individuals ... pursuant to benefits covered under the policy or contract." Id. at

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                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 7 of 65 Page ID #:15




      1   subds. (a) and (b). The purpose of the statute is to ensure, among other things, that:

      2                  a.      "The policy or contract is not inconsistent with standards of good health

      3   care and clinically appropriate care." Ins. Code § 10133.5(b)(3).

      4                  b.      "Al! contracts including contracts with providers, and other persons

      5   furnishing services, or facilities shall be fair and reasonable." Ins. Code § 10133.5(b)(4).

      6          25.     Regulations promulgated pursuant to Insurance Code section 10133.5 require that

      7 "insurers shall ensure that.,. [n]etwork providers are duly licensed or accredited and that they are

      8   sufficient, in number or size, to be capable of furnishing the health care services covered by the

      9   insurance contract, taking into account the number of covered persons, their characteristics and

     10   medical needs including the frequency of accessing needed medical care within the prescribed

     11   geographic distances outlined herein and the projected demand for services by type of services."

     12   10 CCR § 2240.1(b)(1).

     13          26.     Insurance Code section 10133.56 similarly allows consumers who are in the course

    14    of treatment to continue to receive treatment from their provider of choice, even after the health

    15    insurer terminates its contract with the provider.

    16                                       NATURE OF THE ACTION

    17           27.     Plaintiff brings this action to challenge Health Net's deceptive and fraudulent

    18    misrepresentations, its inadequate network of contracted providers of behavioral health and

    19    substance use disorder services ("BH/SUD"), its grossly mishandled administration of PPO

    20    Policies, its groundless investigation of BH/SUD claims and consequent elimination of out-of-

    21    network choices, and its inequitable payment of benefits for BH/SUD services as compared to

    22    medical and surgical services.

    23           28.     In violation of California law, Health Net:   •

    24                   a.      Has misrepresented and continues to misrepresent to consumers that certain

    25    BH/SUD providers are participating in Health Net's network of contracted providers, or in-

    26    network providers, when in fact they are not;

    27                   b.      Has made and continues to make false and misleading representations and

    28    omissions in advertising, marketing, and communications regarding BH/SUD provider networks

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                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 8 of 65 Page ID #:16




     1   and as to other matters as more fully described herein;

     2                  c.       Has subjected and continues to subject Plaintiff and others similarly situated

     3   to inadequate networks of BH/SUD providers, causing delays and interruptions in accessing

     4   needed health care;                                             •

     5                  d.       Has subjected and continues to subject Plaintiff and others similarly situated

     6   to exceedingly long wait times, regularly lasting several hours and in some cases, like Plaintiff,

     7   days and weeks on customer service telephone lines when calling to address these problems,

     8   misinformation through Health Net's website, and countless hours corresponding with Health Net

     9 and correcting misrepresentations made by Health Net;

    10                  e.       Has subjected and continues to subject Plaintiff and others similarly situated

    11   to unreasonably limited, almost non-existent, choices of out-of-network BH/SUD providers as a

    12   direct result of Health Net's groundless, industry-wide dragnet SIU investigation of out-of-

    13   network BH/SUD providers; and

    14                  f.       Has subjected and continues to subject Plaintiff and others similarly situated

    15   to exorbitant increased costs of health care as a direct result of Health Net's practice of

    16   reimbursing BH/SUD services at Medicare allowable rates that do not apply to the BH/SUD

    17 services provided, resulting in an underpayment on average of approximately 70-80% of the

    18   providers' billed charges and a resulting increase in Plaintiff's out of pocket expenses for covered

    19   health care services.

    20          29.     In late 2013, to coincide with the commencement of the ACA, Health Net canceled

    21   its existing non-ACA-compliant PPO Policies and made available to California consumers new

    22   PPO Policies, effective January 1, 2014.

    23          30.     The new ACA-compliant PPO Policies were first made available to consumers

    24   during a designated enrollment period between October 1, 2013 and March 31, 2014 (the "2014

    25   Open Enrollment Period"). Except for a few narrow exceptions, consumers may only enroll in

    26   new coverage or switch coverage during designated open enrollment periods.

    27          31.     Health Net represented and marketed to consumers that its health plans have

    28   specific BH/SUD providers under contract and within its network of providers available to those

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                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 9 of 65 Page ID #:17




      1   consumers enrolled in the Health Net PPO Policies.

      2          32.     After Plaintiff and those similarly situated enrolled in the new Health Net PPO

      3   Policies, they discovered that their provider networks did not include the BH/SUD providers

      4   Health Net had represented to be in-network providers, and that those provider networks were

      5   much more limited than previously represented by Health Net. Due to Health Net's deceptive and

      6 fraudulent actions and misrepresentations, Plaintiff and those similarly situated are not able to
      7 fully access the benefits of the plans they purchased.

      8          33.     Plaintiff and those similarly situated did not become fully aware of the reduced

      9   provider networks until after the close of their respective open enrollment periods, thereby locking

     10   them in those plans until the next open enrollment period. Some consumers have not yet become

     11   aware of the reduced provider networks.

     12          34.     Health Net had a clear incentive to conceal its networks: As a result of these

     13   practices, Health Net significantly increased its share of the California health plan market, while

     14   offering inferior products and not paying the contractually and statutorily mandated benefits.

     15          35.     Health Net's practices improperly shift the increased cost of health care onto

     16   Plaintiff and those similarly situated in the form of exorbitant unpaid bills and the transformation

    17    of fixed co-payments into percentage-based co-insurance obligations if they cannot access in-

     18   network providers in a timely manner from the limited number of in-network providers in Health

     19   Net's provider network.

    20           36.     By selling health plans that do not provide benefits or access to BH/SUD in-

    21    network providers as advertised, Health Net's deceptive business practices resulted in mass

    22    confusion, with Plaintiff and others similarly situated trapped in a labyrinth of automated phone

    23    trees, multiple transfers, oppressive hold times, disconnections, useless Health Net website

    24    searches and "Custom Provider Listings," pointless correspondence, and restarting the entire

    25    process.

    26           37.     Health Net's deceptive and fraudulent practices went beyond providing an

    27    inadequate network of BH/SUD providers. In January 2016, Health Net instituted an industry­

    28    wide dragnet SIU investigation of out-of-network providers of BH/SUD services. The SIU

                                                       -_8-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 10 of 65 Page ID #:18




      1   investigation was intended to avoid the payment of out-of-network provider BH/SUD services,

      2 and Health Net has in large part avoided such contractually and statutorily mandated payments.

      3   As a direct consequence, Plaintiff and others similarly situated found themselves unable to find

      4   BH/SUD out-of-network providers willing to treat Health Net insureds.

      5          38.     For those of Health Net's insureds, such as Plaintiff and others similarly situated,

      6 who were able to find out-of-network BH/SUD providers willing to provide treatment, Health Net
      7 further compounded the injury and damages by employing a deceptive and fraudulent practice of

      8   reimbursing out-of-network BH/SUD services at Medicare reimbursement rates that do not apply

      9   to the BH/SUD services provided, resulting in average underpayments of approximately 70-80%

     10 of the out-of-network providers' billed charges, and a resulting increase in Plaintiffs out of pocket
     11   expenses for covered health care services.

     12          39.     The inapplicable Medicare reimbursement rates applied by Health Net were only

     13   misapplied to BH/SUD treatment services, not medical and surgical services, and therefore violate

     14   the Mental Health Parity and Addiction Equity Act of 2008 ("MHPAEA"), made applicable to

     15   health insurance companies in the State of California pursuant to California Insurance Code section

     16   10112.27.

     17          40.     Plaintiff brings this action individually as successor in interest to Chase Frei,

     18   and on behalf of a class of current California residents who are enrolled in, or who were enrolled

     19   in, a Health Net PPO health insurance contract, purchased on or after October 1, 2013

     20   (collectively, the "Class," or individually, "Class Members").

     21          41.     Health Net's deceptive and fraudulent practices of representing and advertising that

     22   its health plans have certain providers in the plans' networks when those providers are not actually

     23   in the plans' networks violates California Insurance Code provisions, as well as the Unfair

     24   Competition Law ("UPL"), California Business and Professions Code sections 17200, et seq., and

     25   the Consumers Legal Remedies Act ("CLRA"), California Civil Code sections 1750, et seq.

     26          42.    Through its conduct as described herein, Health Net has breached the individual

     27   PPO contracts entered into with Plaintiff and the Class Members and breached the implied

     28   covenant of good faith and fair dealing in each of those PPO contracts.

                                                         -9_-

                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 11 of 65 Page ID #:19




      1           43.    Plaintiff seeks to recover damages resulting from Health Net's breach of contract

      2 and breach of the implied covenant of good faith and fair dealing; an order of this Court enjoining

      3 Health Net's continued violations; an order for restitution of all monies paid for Health Net PPO

      4   Policies in an amount reflecting the difference in the value of the PPO Policies with the providers

      5   as misrepresented at any time since October 1,2013, and the value of the PPO Policies with the

      6 actual reduced provider networks, and other remedies as set forth herein.
      7                                     FACTUAL ALLEGATIONS

      8          44.     During open enrollment 2016, the Decedent enrolled in a Health Net individual and

      9 family PPO insurance policy.

     10          45.     Health Net issued to the Decedent, through the Covered California Exchange, its

     11   individual Family Health Net Platinum PPO Policy No. 497151, effective January 1,2016,

     12   through the Decedent's death (the "Policy"), though Health Net admittedly issued in error Policy

     13   No. 506138, effective April 1, 2016, but confirmed Policy No. 497151 was the only Policy in

     14   effect for 2016.

     15          46.     The Decedent, like many his age, became addicted to prescribed opioid pills while

     16   in high school. The Decedent's addiction continued after he graduated high school in 2013, and

     17   eventually the Decedent's addiction intensified and he began using illicit drugs.

     18          47.     In 2015, the Decedent acknowledged his addiction and became willing to take the

     19   steps necessary to get sober. He moved from his residence in Alameda County, where the familiar

     20   faces and sunoundings were not conducive to his recovery, and moved to Orange County.

     21          48.     The Decedent entered his recovery willingly and was committed to getting sober.

     22   However, Health Net impeded the Decedent's recovery at every step by not maintaining an

     23   adequate network of BH/SUD providers and effectively precluding access to out-of-network

     24   BH/SUD providers.

     25          49.     Initially, Plaintiff and the Decedent paid cash for the behavioral health and

     26   substance use disorder services ("BH/SUD") services.

     27          50.     After obtaining the Policy, the Decedent sought out treatment with an in-network

     28   provider. Health Net's directory of BH/SUD providers did not include a single residential

                                                     - 10-
                                                   COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 12 of 65 Page ID #:20




      1   treatment facility able to treat the Decedent. The in-network providers either did not provide

      2   residential treatment or did not provide substance use disorder treatment, only eating disorders and

      3 other behavioral health disorders. The Decedent was forced to seek treatment with an out-of-

      4   network provider pursuant to the terms of his Policy.

      5           51.    The Decedent participated in outpatient BH/SUD treatment with an out-of-network

      6   provider in Orange County. The provider submitted claims to Health Net, which were paid

      7 pursuant to the terms of the Policy at 75% of the provider's billed charges. This continued

      8   through January 13,2016.

      9           52.    For the Decedent's treatment beginning on January 14, 2016, Health Net refused to

     10   reimburse the Decedent's out-of-network provider, explaining that the claims were being

     11   contested because of insufficient information. Health Net requested that the Decedent provide

     12   evidence of payment of his deductible, co-insurance and co-payment, compliant medical records,

     13   and a copy of the provider's licenses and certificates.

     14           53.    Health Net continued to deny claims for Decedent's dates of service through

     15   February 12, 2016, leaving Plaintiff with a significant balance bill from his provider and a debt

     16   subject to collection and credit reporting.

     17           54.    Health Net subsequently re-processed some of the claims for the dates of service in

     18   January and February, 2016, reimbursing the Decedent's provider at approximately 10% of the

     19   billed charges, based upon a purported Medicare conversion rate, instead of 75% as required by

     20   the Policy. Those inadequate payments were not made until much later. In fact, the last

     21   explanation of benefits ("EOB") from Health Net indicates the claim was re-processed on July 5,

     22   2017, more than a year after services were rendered and two months after the Decedent passed

     23   away.                                                        •

     24           55.    Because Health Net refused to pay the Decedent's out-of-network provider, the

     25   Decedent was forced to find another provider of BH/SUD services. Once again, the Decedent and

     26   Plaintiff were unable to identify a single in-network provider listed in the Health Net directory of

     27   providers. Through the Health Net website, Plaintiff requested a listing of BH/SUD providers.

     28   Health Net generated a "Custom Provider Listing" on February 29,2016. Once again, however,


                                                        COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 13 of 65 Page ID #:21




      1   none of the providers were able to provide treatment for the Decedent because they either did not

      2 provide residential treatment or did not provide substance use disorder treatment, only eating
      3   disorders and other behavioral health disorders.

      4          56.     In March 2016, the Decedent began treatment again with an out-of-network

      5 provider. Once again, Health Net denied the claim for the same reason - insufficient information

      6 - and including the same request for documentation that the Decedent had no ability to provide
      7 (e.g. the provider's license and certificates).

      8          57.     Plaintiff again accessed the Health Net website and requested a listing of BH/SUD

      9   providers. Health Net again provided a Custom Provider Listing on April 13,2016. Again, none

     10   of the providers were able to treat the Decedent.

     11          58.     The Decedent again began treatment with another out-of-network BH/SUD

     12   provider. This time, Health Net honored the claims and reimbursed the provider at 60% of the

     13   billed charges, despite the fact that the policy provides for reimbursement at 75% of the billed

     14   charges. Health Net explained that the out-of-network provider's charges were being reimbursed

     15   based upon a "negotiated agreement with Multiplan/Viant." This method of reimbursement

     16   continued for dates of service through May 18, 2016.

     17          59.     Multiplan, Inc. is a New York corporation and a provider of healthcare cost

     18   management solutions that contracted with Health Net to negotiate contracts with out-of-network

     19   providers of BH/SUD services. Health Net, as an undisclosed principal in the contracts between

     20   Multiplan and the providers, agreed to pay a lesser reimbursement rate for covered services than

     21   owed under the Policy, in exchange for a promise to expedite payment to the providers.

     22          60.     After completing his residential treatment, the Decedent sought out a provider of

     23   outpatient BH/SUD services. Once again, there were no in-network providers able to treat the

     24   Decedent and he, therefore, sought treatment with an out-of-network provider.

     25          61.    The Decedent, having successfully completed a 30-day residential treatment, was

     26   committed to his sobriety and recovery. He aggressively pursued a 90-day outpatient course of

     27   treatment with an out-of-network provider in Orange County. Health Net would only reimburse

     28   the provider at approximately 10% of the billed charges, not 75%, based upon a purported


                                                   COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 14 of 65 Page ID #:22




      1   Medicare rate, resulting in a significant debt for the Decedent and Plaintiff.

      2          62.     On March 30, 2016, Elizabeth Fairchild, Regulatory Affairs Analyst for Health

      3 Net, tried to explain why Health Net had wrongfully denied the Decedent's claims for BH/SUD

      4   treatment received through out-of-network providers. Ms. Fairchild stated that the Policy requires

      5   the insured to satisfy certain financial responsibilities, "such as the payment of any deductible, co-

      6 payment and co-insurance." She stated that "these obligations are mandatory, and should not be
      7   waived or forgiven by the provider," and that Health Net had requested that the providers supply

      8   proof that they collected the appropriate amount. Contrary to Ms. Fairchild's statement, this is not

      9   a legitimate basis, under the Policy, to deny payment. Furthermore, the Decedent's Policy did not

     10   call for a deductible; co-payments are only paid for in-network treatment; and any co-insurance

     11   calculation cannot be done until Health Net states what amount of the billed charges it is going to

     12   pay, since co-insurance is based upon a percentage of the allowable amount.

     13          63.     After Plaintiff provided Health Net with proof of cash payments to an out-of-

     14   network provider, in the amount of $3,000.00, Ms. Fairchild on behalf of Health Net refused to

     15   apply those payments to the Decedent's out-of-pocket maximum until it was able to confirm that

     16   the payments Plaintiff demonstrated had been made were actually received by the provider. Ms.

     17   Fairchild stated to Plaintiff that Health Net had not received any claims from the provider in order

     18 to verify the payments. However, the provider by that time had already submitted four claims that
     19   were ignored by Health Net.

     20          64.     With respect to the Decedent and Plaintiffs complaints that Health Net's network

     21 of providers did not include BH/SUD providers able to treat the Decedent, Jasmit B., Appeals and
     22   Grievances Case Coordinator for Health Net, wrote to Plaintiff on April 13, 2016, that Health Net

     23   had directed the concerns to its Medical Management Department "so that [Health Net] may

     24   provide ... a complete response." Health Net also indicated that a care manager would be

     25   assigned to coordinate the Decedent's care.

     26          65.     On May 3, 2016, Miriam T., Appeals and Grievances Case Coordinator for Health

     27   Net, wrote to the Decedent in an effort to further explain why Health Net had not paid his provider

     28   or properly credited the $3,000.00 in cash payments toward his out-of-pocket maximum. Health


                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 15 of 65 Page ID #:23




      1   Net explained that the matter was being handled by its "Special Claims Department," who advised

      2 that the claims from the Decedent's provider were "currently being reviewed." Until that review

      3   was completed, Health Net would not agree to pay the provider or credit the $3,000.00 toward the

      4   out-of-pocket maximum.

      5          66.     Ms. Fairchild on behalf of Health Net again stated on May 25,2016, that Health

      6 Net had not received any claims from the Decedent's provider, though she did acknowledge that
      7   the provider had stated that the claims were submitted electronically on April 27,2016.

      8          67.     On June 13,2016, Ms. Fairchild on behalf of Health Net advised the Decedent that

      9   his provider with whom he treated in January and February 2016 had finally been released from

     10   Health Net's investigation and that the provider's claims would be paid.

     11          68.     Beginning in January 2016, the Decedent and Plaintiff had been requesting of

     12   Health Net that a care manager be assigned to the Decedent's care. After months of being

     13   ignored, Ms. Fairchild on behalf of Health Net stated in a letter, dated May 25,2016, that Sheila

     14   Armstead had been assigned as a care manager.

     15          69.     When Plaintiff spoke to Ms. Armstead of Health Net, Ms. Armstead stated that she

     16   was not a care manager and that she worked in a department that did not have care managers.

     17   Then Plaintiff received conflicting information from Health Net. One person told her that a care

     18   manager is only assigned for out-patient treatment. Ms. Armstead told her that care managers are

     19   only assigned for in-patient treatment. Since the Decedent was still receiving in-patient treatment,

     20   he should have been assigned a care manager.

     21          70.     On June 22, 2016, Ms. Fairchild on behalf of Health Net finally acknowledged

     22   receipt of claims from the Decedent's provider for dates of service in March 2016. However, Ms.

     23   Fairchild indicated that those claims were still being reviewed (three months later). Ms. Fairchild

     24   also acknowledged in her letter that, despite its denials, Health Net had authorized the Decedent's

     25   treatment with his out-of-network provider for dates of service in May and April 2016, and that

     26   the claims were still under review.

     27          71.     On July 27, 2016, Ms. Fairchild on behalf of Health Net attempted to explain to

     28   Plaintiff why the Decedent's out-of-network providers were not being reimbursed at 75% of their

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                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 16 of 65 Page ID #:24




      1   billed charges, but instead at a rate of 190% of a Medicare allowable rate, or approximately 10%

      2 of the billed charges. Ms. Fairchild stated that the Medicare rate applied to residential treatment
      3 facilities, outpatient programs and clinical laboratories. This reimbursement methodology left the '

      4   Decedent and Plaintiff, with a significant debt for the provider's balance bill, which Health Net

      5 stated was the Decedent's obligation despite exhausting his out-of-pocket maximum.

      6          72.       Ms. Fairchild on behalf of Health Net explained to Plaintiff, on September 9, 2016,

      7 that Health Net had "completed their review of all of the claims for [the Decedent]." Health Net

      8   determined that some claims were paid correctly, "but the disallow code was [incorrect]." Health

      9   Net also determined that "there were some claims that were actually overpaid," but Health Net

     10 graciously decided not to ask for the money back. Ultimately, Ms. Fairchild stated that Health
     11   Net's "review is now concluded," despite the Decedent and Plaintiff having a significant debt

     12   owed to the out-of-network providers who either were not paid or were paid incorrectly at a

     13   Medicare rate.

     14          73.       Plaintiff had a telephone conversation with Ms. Fairchild of Health Net on

     15 September 20, 2016, during which she questioned the processing of two separate claims for

     16   treatment provided by the Decedent's out-of-network provider for dates of service in June and

     17   August 2016. Despite the provider billing two different services, with two different service codes,

     18   and two different billed charges, Health Net paid the same Medicare rate. Ms. Fairchild on behalf

     19   of Health Net claimed, on September 29, 2016, that despite the different service codes, all of the

     20   out-patient services are processed and paid based upon the Medicare rate, which turns out to be

     21   approximately 10% of the provider's billed charge.

     22          74.       On October 4, 2016, Lauren J., Case Coordinator for Health Net's Appeals and

     23   Grievances, sent a letter to the Decedent in an attempt to explain why the Decedent's provider for

     24   dates of services between May 18, 2016 and August 18, 2016, still had not been paid for

     25   $116,850.00 in charges. Health Net explained that its "research has been delayed because [Health

     26   Net] could not obtain complete information necessary for [its] review." Health Net further stated,

     27   without explanation, that it was delaying payment pending a response from its claims department

     28   regarding claims submitted by the Decedent's provider "due to the fact that the services rendered


                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 17 of 65 Page ID #:25




      1   were related to mental health benefits

      2           75.    Lauren J., Case Coordinator of Appeals and Grievances for Health Net, wrote to

      3   the Decedent on October 18,2016, stating that the claims department had responded to its inquiry

      4   concerning the outstanding billed charges of $116,850.00, and determined that the claims had been

      5   processed correctly, even though the provider received approximately 10% of its billed charges,

      6   instead of the 75% mandated by the policy.

      7          76.     On October 18,2016, Ms. Fairchild on behalf of Health Net wrote to Plaintiff to

      8   address a number of questions. First, she disputed Plaintiffs statement that Ms. Armstead, who

      9   Ms. Fairchild confirmed was assigned to the Decedent as a care manager, directed the Decedent to

     10 his out-of-network provider for the dates of service between May and August 2016. Second, she
     11   explained that the provider's claims were processed correctly, though a disallow code had been

     12   incorrectly used, and that all of the claims for the dates of service between May and August 2016

     13   had been processed. Third, she explained the reason for the same reimbursement amount being

     14   paid by Health Net, despite different services being rendered, as being the product of Health Net

     15   employing a Medicare rate reimbursement methodology. Fourth, she explained why Health Net

     16   had been paying the Decedent's providers at 75% of their billed charges prior to February 2016,

     17   but now at a Medicare rate of approximately 10% of the billed charges. Ms. Fairchild explained

     18   that Health Net had incorrectly overpaid those claims and that those prior claims also should have

     19   been paid at a Medicare rate.

     20          77.     On October 26,2016, Ms. Fairchild on behalf of Health Net explained why

     21   Plaintiff had received three different policies. She confirmed that the Decedent had coverage for

     22   2016 under one Health Net PPO policy, not two different policies, as indicated in a prior letter by

     23   Ms. Fairchild that she acknowledged was incorrect, and that the initial policy was for the period of

     24   November 2015 through the end of that year.

     25          78.     After multiple requests by Plaintiff that Health Net re-process the claims for

     26   Decedent's care and pay the claims at 75% of the billed charges, Ms. Fairchild on behalf of Health

     27   Net wrote to Plaintiff on November 30, 2016, and explained that the Decedent's 140 claims for

     28   services rendered by providers had been reviewed and Health Net determined that all of the claims

                                                      -16-
                                                   COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 18 of 65 Page ID #:26




      1   had been processed correctly, with the exception of claims for dates of service in January and

      2 February, 2016, which Health Net contends were overpaid at 75% of the billed charges. Ms. "

      3   Fahchild concluded that Health Net would not be re-processing the claims.

      4           79.    Health Net had drawn its line in the sand. It refused to reimburse out-of-network

      5 BH/SUD providers at the appropriate rate of 75% of billed charges and, instead, insisted upon

      6   using the inapplicable Medicare-rate methodology. Word was out in the industry and out-of-

      7   network BH/SUD providers refused to treat Health Net insureds.

      8           80.    As a result of Health Net's wrongful conduct, the Decedent was forced from one

      9   facility to another, precluded from establishing any continuity of care and building a strong

     10 enough foundation upon which to build his recovery, and ultimately succumbed to his disease on
     11   May 6, 2017.

     12                             HEALTH NET'S WRONGFUL CONDUCT

     13           81.    Health Net's website has at all relevant times offered a feature that allows potential

     14 enrollees to search Health Net's provider networks, and Health Net also allows enrollees to obtain

     15   provider network information over the phone. In addition, Health Net included representations

     16 concerning its provider networks in its marketing, sales, and plan informational materials.
     17           82.    In an effort to increase its share of the California health plan market. Health Net

     18   engaged in a fraudulent and deceptive marketing scheme leading up to and during the 2014 Open

     19   Enrollment Period and thereafter, by misrepresenting its provider networks during the open

     20 enrollment periods in order to increase sales of its health plans and concealing that its networks

     21   were significantly more limited than its networks prior to the 2014 Open Enrollment Period.

     22           83.    Health Net has and maintains an inadequate network of BH/SUD treatment

     23   providers while our nation is gripping with a raging epidemic of substance use disorders.

     24           84.    Drug overdoses have become the leading cause of death of Americans under age

     25   50, with two-thirds of those deaths from opioids,

     26           85.    From 1999 to 2015, 568,699 persons died from drug overdoses in the United

     27 States.

     28           86.    Drug overdose deaths in the United States increased 11.4%, from 2014 to 2015,

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                                                   COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 19 of 65 Page ID #:27




      1   resulting in 52,404 deaths in 2015, including 33,091 (63.1%) that involved an opioid.

      2            87.   In 2016, there were 63,632 drug overdose deaths in the United States. Opioids

      3   accounted for 66.4% (42,249) of the deaths, with increases across age groups, racial/ethnic groups,

      4   urbanization levels, and multiple states.

      5            88.   On average, 115 Americans die every day from an opioid overdose. Drug

      6 overdoses now cause more deaths than either car accidents or guns.
      7            89.   The opioid crisis has destroyed lives and devastated families. It is the deadliest

      8   drug crisis in United States history and it is only getting worse. In 2016 alone, California lost

      9   1,925 lives to the opioid epidemic.

     10            90.   In light of this epidemic, between 2014 and 2016, hundreds of out-of-network

     11   BH/SUD providers treated thousands of patients who had PPO policies provided by Health Net,

     12   after verification of benefits by, and prior authorization from, Health Net.

     13            91.   The Health Net PPO policies covering these patients, like Chase, required

     14   reimbursement at 75% of the covered charge billed by the provider. Up until January 2016,

     15   Health Net had reimbursed out-of-network BH/SUD providers at 75% of their billed charges.

     16   That stopped, and in fact, all payments stopped for out-of-network BH/SUD services when Health

     17   Net instituted its groundless dragnet SIU investigation.

     18            92.   Health Net wrote the language in its PPO Policy that requires reimbursement at

     19   75% of billed charges because it wanted to increase its membership and premium dollars after

     20   implementation of the ACA, but when it came time to pay claims under those PPO policies.

     21   Health Net refused to honor its obligations because Health Net wanted to show a greater net value

     22   increase its sales price for an anticipated acquisition by Centene that was completed in March

     23   2016.                                                        •

     24            93.   Health Net had explored the market for a suitor for two years before its 2016

     25   merger with Centene. Health Net CEO Jay Gellert and Centene CEO Michael Neidorff first met

     26   in November 2014, to discuss a potential merger, but did not initiate negotiations. Health Net

     27   apparently spoke with two other interested buyers in the beginning of 2015, but those negotiations

     28 stalled.

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                                                      COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 20 of 65 Page ID #:28




      1           94.    In May 2015, Health Net reported its first-quarter profits had edged slightly

      2 upward. More notable was Health Net's swelling membership, the result of the ACA and a
      3 generous policy fonn that provided reimbursement levels greater than its competitors. Individual

      4   membership climbed 74% to 360,000. Health Net's first-quarter revenue jumped 28% to $3.9

      5   billion. Net income increased 4% to $30 million, equaling a 0.8% profit margin.

      6          95.     After the positive financial report, Centene returned to Health Net and negotiations

      7   began in earnest in June 2015. On July 2,2015, Health Net announced that it had entered into a

      8   merger agreement with Centene under which Centene would acquire all of the issued and

      9 outstanding shares of Health Net. In October 2015, Health Net's stockholders voted to approve the

     10   adoption of the merger agreement with Centene. When the deal was finalized, it was valued at

     U    $6.8 billion. Health Net's CEO received a golden parachute worth $54 million and the CFO

     12   received a golden parachute of $23.4 million.

     13          96.     In January 2016, Health Net abruptly stopped paying out-of-network BH/SUD

     14   claims. Health Net sent a letter to numerous out-of-network BH/SUD treatment facilities in

     15   California, outlining a "number of potential concerns" about "false and/or fraudulent claims,"

     16   followed by more letters in February and March to out-of-network BH/SUD facilities and to

     17   patients, requesting proof that the providers had collected the patient's deductibles, co-pays or co­

     18   insurance.                                                        .

     19          97.     By March 2016, Health Net had developed a scheme to underpay the out-of-

     20   network BH/SUD claims by implementing institutional policies and procedures that instructed its

     21   claims personnel to refer out-of-network BH/SUD claims for special handling and, if cleared for

     22   payment, to not pay out-of-network BH/SUD claims at 75% of billed charges, as required by the

     23   Policy, and to instead use the inapplicable Medicare reimbursement rate.

     24          98.     In July 2016, Centene was forced to disclose to its shareholders that Health Net had

     25   incurred $390 million in liabilities for out-of-network BH/SUD claims, which existed as of the

     26   March 24, 2016 merger date, but had not been properly accounted for and disclosed. The

     27   increased liabilities were greater than Health Net's entire pre-tax annual earnings in recent years,

     28   making clear that Health Net's earnings had been vastly overstated. Centene was forced to record


                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 21 of 65 Page ID #:29




      1   these increased liabilities in filings with the U.S. Securities and Exchange Commission, and

      2 Health Net's revenue and income were both reduced drastically, prompting Centene to request
      3   premium increases and benefit design changes, including reductions in reimbursement for out-of-

      4   network BH/SUD services.

      5           99.     Centene and Health Net worked feverishly to control the bad publicity. On July 26,

      6 2016, for instance, during an analyst call, Centene CFO Jeffrey Schwaenke, discussing losses from
      7   Health Net-related out-of-network BH/SUD claims in California said, "[w]e have taken steps to

      8   mitigate the substance abuse treatment center cost in the individual commercial business in

      9   California including modifications to plan design," and that Centene was "actively working" to

     10 "ensure we maintain a competitive individual commercial product in 2017."

     11           100.   Centene CEO Michael Neidorff added in that same analyst call that Centene was

     12 "being very aggressive in fixing it." He explained further that Centene was "working with the

     13   state at the highest levels to redesign the PPO product. There were major flaws in it, and we

     14   corrected that." Later, he reiterated that, "the behavioral issue is being dealt with with [sic] the

     15   benefit designs." Mr. Neidorff explained that the Health Net PPO plans had "product design

     16   issues," but insisted, "[wje're closing -1 don't want to call it loopholes - some openings."

     17          101.    On July 28,2016, appearance on the CNBC show, "Mad Money," Mr. Neidorff

     18   responded to a question regarding losses in Health Net's California business by stating, "we have

     19   an issue there ... that the individual PPO had a bad product design."

     20          102.    Further, during another analyst call on October 23, 2016, Mr. Neidorff returned to

     21   the issue of the design flaws in Health Net's PPO Policy and Centene's efforts to fix them. He

     22   detailed some of the key changes, including "the first time inclusion of an out-of-network

     23   deductible for platinum and gold plans," a "significant increase in the out-of-network maximum

     24   out-of-pocket level," the "elimination of non-emergent out-of-state coverage and travel network

     25   access," the "elimination of the default rate of 75% of billed charges to out-of-network services

     26   that do not have a Medicare rate," and "restrictions on third-party premium payments, which were

     27   not included in the original 2016 offering."

     28          103.    Speaking further about Health Net's PPO plan prior to 2017, Mr. Neidorff said,

                                                       -20-
                                                     COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 22 of 65 Page ID #:30




      1   "when you look at... the out-of-network coverage, the benefit design they had before without the

      2 Medicare Maximum and the other issues where there was a percent of billed charges, basically

      3   out-of-network providers could do what they wanted and we are liable at a time for 75% of billed

      4 charges 'til they change their certificate of coverage."

      5           104.   In addition, at the Morgan Stanley Global Health Care Conference on September

      6 13,2016, Mr. Neidorff stated that Centene had "dealt with" its losses and liabilities for Health Net
      7   out-of-network BH/SUD claims in California by "changfing] the benefit level," and said it was

      8   working to "fix the PPO in California." He added, "[t]here were some design flaws that were just

      9 so obvious to those of us who have been doing it for a long time. Those have been fixed." Mr.

     10   Neidorff went on to explain some of the "design flaws" in the Health Net PPO Policy that had led

     11 to its liability for out-of-network BH/SUD claims in California:
     12                  There were not the incentives. A PPO is designed to give people an
                         option to go out of network, but really it should be designed to
     13                  encourage people to stay in network. This had none of that. There
                         were no caps on maximum allowances. We had the most liberal - or
     14                  Health Net had the most liberal PPO out there, which encouraged
                         adverse selection. ... But we knew we had the prior purchase
     15                  accounting methodology to deal with it. And we knew what it would
                         take to fix it. And that's just what we have been doing, very
     16                  methodically. And we're very comfortable.
     17          105.     Health Net knew it had a "bad product" that provided generous levels of

     18   reimbursement for out-of-network BH/SUD claims. By withholding payments to hundreds of

     19   facilities for thousands of claims worth tens of millions of dollars, beginning in January 2016,

     20   Health Net was able to contrive a reduction in liabilities that improved the overall equity of Health

     21   Net and its value to Centene pre-merger, thereby improving Health Net's sale price to Centene.

     22          106.    Furthermore, Centene states in its financial disclosure, "if the accounting for the

     23   business combination is incomplete, provisional amounts are recorded ... up to one year from the

     24   acquisition date." In essence, by delaying, disputing and withholding payments to substance use

     25   treatment facilities, Centene was able to smooth out its profit over the four quarters post-merger.

     26   Health Net's SIU investigation in effect allowed Centene to prop up its profits until the out-of-

     27   network BH/SUD claims trapped in the audit are "resolved" in subsequent quarters.

     28          107.    Health Net initiated an SIU audit as a pretext to allow Health Net to artificially

                                                      -21_-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 23 of 65 Page ID #:31




      1   depress its liabilities (the out-of-network BH/SUD claims), increase its pre-merger equity, and to

      2 allow Centene to spread the unaccounted for liabilities across the post-merger quarters.
      3          108.    Health Net and Centene furthered this deceptive, fraudulent, bad faith scheme by

      4   substantially reducing the reimbursement for substance use treatment, in March 2016, when

      5 Health Net implemented its policies and procedures with instructions to not pay out-of-network

      6 BH/SUD claims at 75% of billed charges, and to instead use an inapplicable Medicare
      7   reimbursement rate.

      8          109.    All of this was designed to increase the value of the merger and executive bonuses

      9 at the expense of insured members in need of BH/SUD services and the providers of such services.

     10          110.    At the Wells Fargo Securities Healthcare Conference, on September 7, 2016,

     11   Centene's Vice President of Finance, Edmund E. Kroll, admitted that Health Net had wrongfully

     12   denied many of the out-of-network BH/SUD claims:

     13                  [Health Net] denied a lot of claims that [Centene] determined should
                         be on the books [because] ... they were owed.
     14

     15          111.    Through its conduct of misrepresenting provider networks, failing to maintain

     16   adequate provider networks, initiating a groundless dragnet SIU investigation and refusal to

     17 reimburse out-of-network BH/SUD claims to unduly restrict the availability of out-of-network

     18   providers, and reimbursing out-of-network BH/SUD claims with an inapplicable Medicare

     19   reimbursement rate in contravention of the express Policy terms, Health Net violated the

     20   California Insurance Code and implementing regulations, the MHPAEA, the UCL and the CLRA.

     21                                        CLASS ALLEGATIONS

     22          112.    This action is brought on behalf of Plaintiff individually as successor in interest to

     23   Chase Frei, and on behalf of the Class, pursuant to Code of Civil Procedure section 382 and Civil

     24   Code section 1781. Plaintiff seeks to represent the following Class:

     25          All California residents who purchased a Health Net PPO Policy on or after October 1,

     26          2013, and prior to 2017.

     27          113.   Plaintiff reserves the right under Rule 3.765(b) of the California Rules of Court to

     28 amend or modify the class description with greater specificity, by further division into subclasses

                                                      -22-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 24 of 65 Page ID #:32




      I   or by limitation to particular issues.                                     .

      2           114.    The proposed Class is composed of thousands of persons dispersed throughout the

      3   State of California and joinder is impractical. The precise number and identity of Class Members

      4   are unknown to Plaintiff but can be obtained from Health Net's records.

      5           115.    There are questions of law and fact common to members of the Class, which

      6 predominate over questions affecting only individual Class Members.
      7           116.    Plaintiff is a member of the Class and Plaintiffs claims are typical of the claims of

      8   the Class.

      9           117.    Plaintiff is willing and prepared to serve the Court and the proposed Class in a

     10 representative capacity. Plaintiff will fairly and adequately protect the interests of the Class and
     11   have no interests adverse to or which conflict with the interests of the other members of the Class.

     12           118.    The self-interest of Plaintiff is co-extensive with and not antagonistic to those of

     13   absent Class members. Plaintiff will undertake to represent and protect the interests of absent

     14   Class members.

     15           119.    Plaintiff has engaged the services of counsel indicated below who are experienced

     16   in complex class litigation, will adequately prosecute this action, and will assert and protect the

     17   rights of and otherwise represent Plaintiff and absent Class Members.

     18           120.    The prosecution of separate actions by individual Class Members would create a

     19   risk of inconsistency and varying adjudications, establishing incompatible standards of conduct for

     20   Health Net.

     21           121.    Health Net has acted on grounds generally applicable to the Class, thereby making

     22   relief with respect to the members of the Class as a whole appropriate.

     23           122.    A class action is superior to other available means for the fair and efficient

     24   adjudication of this controversy. Prosecution of the complaint as a class action will provide

     25   redress for individual claims too small to support the expense of complex litigation and reduce the

     26   possibility of repetitious litigation.

     27           123.    Plaintiff does not anticipate any unusual or difficult management problems with the

     28   pursuit of this Complaint as a class action.

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                                                     COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 25 of 65 Page ID #:33




      1                                      FIRST CAUSE OF ACTION

      2             Violations of Business & Professions Code Section 17200, et seq. - the UCL

      3                                       As Against All Defendants

      4           124.    Plaintiff incorporates by reference each of the preceding paragraphs as though fully

      5   set forth herein.

      6           125.    The UCL prohibits acts of "unfair competition," which is defined by Business and

      7   Professions Code section 17200 as including "any unlawful, unfair or fraudulent business act or

      8   practice...."

      9          126.     Health Net's conduct, and the conduct of DOES 1 through 100, as described above,

     10   constitutes unlawful business acts and practices.

     11          127.     Health Net and DOES 1 through 100 have violated and continue to violate the

     12   UCL's prohibition against engaging in "unlawful" business acts or practices, by, among other

     13   things, violating provisions of the California Insurance Code and implementing regulations, the

     14   MHPAEA, and the CLRA by the conduct alleged herein, including but not limited to:

     15                   a.     By misrepresenting the providers that would be in-network under Plaintiff

     16   and Class Members' PPO Policies, Health Net's advertisements are not "truthful" and are

     17   "misleading in fact or in implication" in violation of 10 CCR § 2536.1(b).

     18                   b.     By misrepresenting the providers that would be in-network under Plaintiff

     19   and Class Members' PPO Policies and by misrepresenting the size of the available provider

     20   networks, Health Net is failing to "provide, in easily understood language and in a uniform,

     21   clearly organized manner" information about the PPO Policies, including the "principal benefits

     22   and coverage of the disability insurance policy" and the "exceptions, reductions, and limitations

     23   that apply to such policy" in violation of Insurance Code sections 10603(a)(1) and 10604(a).

     24                   c.     By misrepresenting the providers that would be in-network under Plaintiff1

     25   and Class Members' PPO Policies, Health Net's Policies are not "fair and reasonable" and

     26   "inconsistent with standards of good health care and clinically appropriate care" in violation of

     27   Insurance Code section 10133.5.

     28                   d.     By misrepresenting the providers that would be in-network under Plaintiff

                                     ;                -24-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 26 of 65 Page ID #:34




      1   and Class Members' PPO Policies, Health Net has failed to "ensure that... [njetwork providers

      2 are duly licensed or accredited and that they are sufficient, in number or size, to be capable of
      3 furnishing the health care services covered by the insurance contract, taking into account the

      4   number of covered persons, their characteristics and medical needs including the frequency of

      5   accessing needed medical care within the prescribed geographic distances outlined herein and the

      6 projected demand for services by type of services" in violation of 10 OCR § 2240.1(b)(1).
      7                    e.     By refusing to provide continuity of care with a patient's physician for an

      8   acute condition, serious chronic condition, pregnancy, terminal illness, a newborn child, or

      9 performance of surgery to consumers during their course of treatment, Health Net is failing to

     10 provide covered services in violation of Insurance Code section 10133.56.

     11                    f.     By implementing policies and procedures applicable only to BH/SUD

     12   services and required reimbursement of such services at inapplicable Medicare reimbursement

     13 rates, Health Net violated the MHPAEA, and Insurance Code section 10112.27.

     14                    g.     By engaging in the conduct alleged herein, Health Net's conduct also

     15 violates the CLRA.

     16          128.      Plaintiff and Class Members have suffered injury in fact and lost money and

     17   property as a result of Health Net and DOES 1 through 100's unlawful business acts and practices

     18   by, among other things, receiving lesser coverage under their PPQ Policies, paying unexpected

     19   out-of-pocket costs and inflated premiums, and paying out-of-pocket costs and premium amounts

     20 in excess of what would have been paid if Health Net and DOES 1 through 100 had accurately
     21   disclosed its provider networks.

     22          129.      Health Net and DOES 1 through lOO's conduct does not benefit consumers or

     23   competition. Indeed the injury to consumers and competition is substantial.

     24          130.      Plaintiff and Class Members could not have reasonably avoided the injury each of

     25   them suffered.

     26          131.      The gravity of the consequences of Health Net and DOES 1 through lOO's conduct

     27   as described above outweighs any justification, motive or reason therefor and is immoral,

     28 unethical, oppressive, unscrupulous, and offends established public policy delineated in California

                                                      -25-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 27 of 65 Page ID #:35




      1   law, the Insurance Code and implementing regulations,

      2            132.   Health Net and DOES 1 through 100's acts as described above constitute

      3   fraudulent business practices under the UCL.

      4            133.   Health Net and DOES 1 through 100's misleading and fraudulent representations,

      5   advertising, marketing, and communications are likely to deceive reasonable California

      6 consumers. Plaintiff and Class Members were deceived regarding the provider networks and
      7   Health Net's other misrepresentations and omissions as more fiilly described herein.

      8            134.   Health Net and DOES 1 through 100's misrepresentations and omissions were

      9   material and were a substantial factor in Plaintiffs and Class Members' decisions to enroll in and

     10   renew their PPO Policies. Such acts are fraudulent business acts and practices.

     11            135.   These acts and practices resulted in and caused Plaintiff and Class Members to pay

     12   more for their health plans than they would have absent Health Net and DOES 1 through lOO's

     13   fraud.

     14            136.   Plaintiff and Class Members have been injured by Health Net and DOES 1 through

     15   100's fraudulent business acts and practices by receiving lesser coverage under their PPO Policies.

     16            137.   As a result of Health Net and DOES 1 through 100's violations of the UCL,

     17   Plaintiff seeks an order of this Court enjoining Health Net's continued violations. Plaintiff also

     18   seeks an order for restitution of all monies paid for Health Net PPO Policies in an amount

     19   reflecting the difference in the value of the PPO Policies with the providers as misrepresented at

     20   any time since October 1, 2013, and the value of the PPO Policies with the actual reduced provider

     21   networks.

     22            138.   Plaintiff and the Class Members are entitled to recover attorney fees and costs

     23   pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of

     24   important rights affecting the public interest that confer a significant benefit on the general public.

     25            139.   Health Net and DOES 1 through 100's conduct described herein was intended to

     26 cause injury to Plaintiff and the Class Members, and was despicable conduct carried on by Health
     27   Net and DOES 1 through 100 with a willful and conscious disregard of the rights of Plaintiff and

     28   the Class Members, subjected Plaintiff and the Class Members to cruel and unjust hardship in

                                                         -J26j-
                                                     COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 28 of 65 Page ID #:36




      1   conscious disregard of their rights, and was an intentional misrepresentation, deceit, or

      2 concealment of material facts known to the Health Net and DOES 1 through 100 with the

      3 intention to deprive Plaintiff and the Class Members property, legal rights or to otherwise cause

      4   injury, such as to constitute malice, oppression or fraud under Civil Code section 3294, thereby

      5   entitling Plaintiff and the Class Members to punitive damages in an amount appropriate to punish

      6 or set an example of Health Net and DOES 1 through 100.
      7           140.    Health Net and DOES 1 through 100's conduct described herein was undertaken by

      8   their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health

      9   Net further had advance knowledge of the actions and conduct of said individuals whose actions

     10   and conduct were ratified, authorized, and approved by managing agents whose precise identities

     11   are unknown to Plaintiff at this time and are therefore identified and designated herein as DOES 1

     12   through 100.

     13                                    SECOND CAUSE OF ACTION

     14                       Violations of Business & Professions Code § 17500, ct scq. -

     15                                  the California False Advertising Law

     16                          .             As Against AH Defendants

     17           141.    Plaintiff incorporates by reference, each of the preceding paragraphs as though fully

     18   set forth herein.

     19           142.    Health Net and DOES 1 through 100 violated California's False Advertising Law

     20   (Bus. and Prof. Code § 17500, et seq.) by making false and misleading representations in

     21   advertising, marketing, and communications regarding provider networks and making other

     22   misrepresentations and omissions as more fully described herein.

     23           143.    These representations have deceived and are-likely to deceive Plaintiff and the

     24   Class Members in connection with their decision to purchase their PPO Policies. Health Net and

     25   DOES 1 through 100's representations also have deceived and are likely to deceive Plaintiff and

     26   the Class Members with respect to the expected costs they would be spending out-of-pocket under

     27   their PPO Policies. Health Net and DOES 1 through lOO's representations were material and were

     28   a substantial and material factor in Plaintiffs and the Class Members' decisions to purchase their

                                                         127J

                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 29 of 65 Page ID #:37




      1   PPO Policies. Had Plaintiff and the Class Members known the actual facts, they would not have

      2   purchased the PPO Policies and paid out-of-pocket costs and premiums in excess of what they

      3   would have paid if Health Net and DOES 1 through 100 had accurately disclosed provider

      4   networks and the real terms, coverage and benefits provided by the PPO Policies.

      5           144.   Health Net and DOES 1 through 100 directly and indirectly, have engaged in

      6 substantially similar conduct with respect to Plaintiff and to each of the Class Members.
      7           145.   Health Net and DOES 1 through 100, and each of them, aided and abetted,

      8 encouraged and rendered substantial assistance in accomplishing the wrongful conduct and their
      9 wrongful goals and other wrongdoing complained of herein. In taking action, as particularized

     10   herein, to aid and abet and substantially assist the commission of these wrongful acts and other

     11   wrongdoings complained of, each of the Defendants acted with an awareness of his^er/its primary

     12 wrongdoing and realized that his/her/its conduct would substantially assist the accomplishment of
     13   the wrongful conduct, wrongful goals, and wrongdoing.

     14          146.    Plaintiff and the Class Members have suffered injury by Health Net and DOES 1

     15   through 100's violation of Business and Professions Code section 17500, et seq.

     16          147.    As a result of Health Net and DOES 1 through 100's violations of the Business and

     17   Professions Code section 17500, Plaintiff and the Class Members seek an order of this Court

     18 enjoining Health Net's continued violations. Plaintiff and the Class Members also seek an order
     19   for restitution of all monies paid for Health Net PPO Policies in an amount reflecting the

     20   difference in the value of the PPO Policies with the providers as misrepresented at any time since

     21   October 1, 2013 and the value of the PPO Policies with the actual reduced provider networks.

     22          148.    Plaintiff and the Class Members are entitled to recover attorney fees and costs

     23   pursuant to Code of Civil Procedure section 1021.5, as' they are the catalyst for enforcement of

     24   important rights affecting the public interest that confer a significant benefit on the general public.

     25          149.    Health Net and DOES 1 through 100's conduct described herein was intended to

     26 cause injury to Plaintiff and the Class Members, and was despicable conduct carried on by Health
     27   Net and DOES 1 through 100 with a willful and conscious disregard of the rights of Plaintiff and

     28   the Class Members, subjected Plaintiff and the Class Members to cruel and unjust hardship in

                                                         -_28_-

                                                     COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 30 of 65 Page ID #:38




      1   conscious disregard of their rights, and was an intentional misrepresentation, deceit, or

      2 concealment of material facts known to the Health Net and DOES 1 through 100 with the

      3   intention to deprive Plaintiff and the Class Members property, legal rights or to otherwise cause

      4   injury, such as to constitute malice, oppression or fraud under Civil-Code section 3294, thereby

      5   entitling Plaintiff and the Class Members to punitive damages in an amount appropriate to punish

      6 or set an example of Health Net and DOES 1 through 100.
      7           150.   Health Net and DOES 1 through 100's conduct described herein was undertaken by

      8   their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health

      9   Net further had advance knowledge of the actions and conduct of said individuals whose actions

     10   and conduct were ratified, authorized, and approved by managing agents whose precise identities

     11   are unknown to Plaintiff at this time and are therefore identified and designated herein as DOES 1

     12   through 100.

     13                                      THIRD CAUSE OF ACTION

     14                          Violations of Civil Code § 1750, et seq. -- the CLRA

     15                                        As Against AH Defendants

     16          151.    Plaintiff incorporates by reference each of the preceding paragraphs as though fully

     17 set forth herein.                                    .

     18          152.    Under Civil Code section 1770, subdivision (a), of the CLRA, the following "unfair

     19   methods of competition and unfair or deceptive acts or practices undertaken by any person in a

     20 transaction intended to result or which results in the sale or lease of goods or services to any
     21   consumer are unlawful":

     22                  a.      "Representing that goods or services have sponsorship, approval,

     23   characteristics, ingredients, uses, benefits, or quantities which they do not have or that a person

     24   has a sponsorship, approval, status, affiliation, or connection which he or she does not have." Civ.

     25   Code § 1770(a)(5).

     26                  b.      "Advertising goods or services with intent not to sell them as advertised."

     27   Civ. Code § 1770(a)(9).                                                                               .

     28                  c.      "Representing that a transaction confers or involves rights, remedies, or

                                                      -29-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 31 of 65 Page ID #:39




      1   obligations which it does not have or involve, or which are prohibited by law." Civ. Code §

      2   1770(a)(14).

      3                  d.      "Inserting an unconscionable provision in the contract. Civ. Code §

      4   1770(a)(19).

      5           153.   Here, in connection with Health Net engaging in the initial offering and monthly

      6 transactions with consumers that were intended to result, or actually resulted in, the sale of
      7   services. Health Net and DOES 1 through 100 have violated the CLRA, Civil Code section 1770,

      8   subdivisions (a)(5), (a)(9), (a)(14), and (a)(19) by:

      9                  a.      Representing that its PPO Policies have provider network characteristics

     10   and other terms and benefits which they do not have,

     11                  b.      Advertising its PPO Policies as having provider network characteristics and

     12   other terms and benefits with the intent not to sell them as advertised.

     13                  c.      Representing that a transaction confers or involves provider network rights,

     14   remedies, or obligations which they do not have.

     15                  d.      Adopting unconscionable contract provisions implementing inadequate

     16   provider networks, and concealing material terms of the coverage.

     17          154.    Such acts and practices were designed or intended by Health Net to convince Class

     18   Members to initially purchase and renew their PPO Policies each month. The CLRA "shall be

     19   liberally construed and applied to promote its underlying purposes, which are to protect consumers

     20 against unfair and deceptive business practices and to provide efficient and economical procedures
     21   to secure such protection." For purposes of the CLRA, a [transaction' means an agreement

     22   between a consumer and any other person, whether or not the agreement is a contract enforceable

     23   by action, and includes the making of, and the performance pursuant to, that agreement." Civil

     24   Code § 1761(e). Here, the "transactions" at issue governed by the CLRA include both the original

     25   sale and the renewals of the its PPO Policies made and entered into by Health Net, Plaintiff and

     26   the Class Members, as well as Health Net's performance of its obligations under such its PPO

     27   Policies. In making decisions whether to initially purchase and renew their its PPO Policies, and

     28   pay the rates imposed by Health Net, Plaintiff and the Class Members reasonably acted in positive

                                                       -30- -
                                                     COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 32 of 65 Page ID #:40




      1   response to Health Net's misrepresentations as set forth in detail herein, or would have considered

      2 the omitted facts detailed herein material to their decisions to do so.
      3          155.    Section 1761, subdivision (b), of the CLRA defines "services" as "work, labor, and

      4   services for other than a commercial or business use, including services furnished in connection

      5   with the sale or repair of goods." Health Net and DOES 1 through 100's ongoing "work and

      6 labor" to establish, maintain, and improve BH/SUD provider networks is the core of the PPO
      7 Policies at issue here.

      8          156.    Health Net and DOES 1 through 100 violated the CLRA by committing unfair and

      9   deceptive acts that directly undermined Plaintiff and the Class Members' ability to access the

     10   provider networks. Health Net's unfair and deceptive acts increased patient costs when accessing

     11   provider networks and unilaterally reduced treatments and services available from those provider

     12   networks.

     13          157.    Plaintiff and the Class Members have suffered harm as a result of these violations.

     14   Plaintiff and the Class Members purchased and renewed PPO Policies, reasonably relying on

     15   Health Net and DOES 1 through 100's material misrepresentations, among other things, that

     16   certain providers would be in-network. Plaintiff and the Class Members have also suffered
                                                                                   *


     17   transactional costs by expending time and resources in the form of correspondence and telephone

     18 conversations in an attempt to avoid the consequences of Health Net's unfair methods of
     19   competition and unfair or deceptive acts. Plaintiff and the Class Members have also suffered

     20   opportunity costs by foregoing the opportunity to switch to other coverage offered by other

     21   companies during the open enrollment periods.

     22          158.    Health Net and DOES 1 through 100's misrepresentations and omissions described

     23   herein were intentional, or alternatively, made without the use of reasonable procedures adopted to

     24   avoid such an error.

     25          159.    Health Net and DOES 1 through 100, directly or indirectly, have engaged in

     26   substantially similar conduct to Plaintiff and to each of the Class Members.

     27          160.    Such wrongful actions and conduct are ongoing and continuing. Unless Health Net

     28   and DOES 1 through 100 are enjoined from continuing to engage in such wrongful actions and

                                                       131J

                                                   COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 33 of 65 Page ID #:41




      1   conduct, the public will continue to be harmed by Health Net and DOES 1 through 100's conduct.

      2           161.   Health Net and DOES 1 through 100, and each of them, aided and abetted,

      3 encouraged, and rendered substantial assistance in accomplishing the wrongful conduct and their

      4 wrongful goals and other wrongdoing complained of herein. In taking action, as particularized

      5   herein, to aid and abet and substantially assist the commission of these wrongful acts and other

      6   wrongdoings complained of, Health Net and DOES 1 through 100 each acted with an awareness

      7   of his/her/its primary wrongdoing and realized that his/her/its conduct would substantially assist

      8   the accomplishment of the wrongful conduct, wrongful goals, and wrongdoing.

      9           162.   Plaintiff and the Class are entitled to an injunction, pursuant to Civil Code section

     10 1780, prohibiting Health Net from continuing to engage in the above-described violations of the
     11   CLRA.

     12           163.   Plaintiff and the Class Members are entitled to recover attorney fees and costs

     13   pursuant to Civil Code section 1780(d).

     14          .164.   Plaintiff and the Class Members are entitled to recover attorney fees and costs

     15   pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of

     16   important rights affecting the public interest that confer a significant benefit on the general public.

     17           165.   Health Net and DOES 1 through l.OO's conduct described herein was intended to

     18   cause injury to Plaintiff and the Class Members, and was despicable conduct carried on by Health

     19   Net and DOES 1 through 100 with a willful and conscious disregard of the rights of Plaintiff and

     20   the Class Members, subjected Plaintiff and the Class Members to cruel and unjust hardship in

     21   conscious disregard of their rights, and was an intentional misrepresentation, deceit, or

     22   concealment of material facts known to the Health Net and DOES 1 through 100 with the

     23   intention to deprive Plaintiff and the Class Members property, legal rights or to otherwise cause

     24   injury, such as to constitute malice, oppression or fraud under Civil Code section 3294, thereby

     25   entitling Plaintiff and the Class Members to punitive damages in an amount appropriate to punish

     26   or set an example of Health Net and DOES 1 through 100.

     27           166.   Health Net and DOES 1 through 100's conduct described herein was undertaken by

     28 their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health

                                                       -_32_-
                                                     COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 34 of 65 Page ID #:42




      1   Net further had advance knowledge of the actions and conduct of said individuals whose actions

      2 and conduct were ratified, authorized, and approved by managing agents whose precise identities
      3   are unknown to Plaintiff at this time and are therefore identified and designated herein as DOES 1

      4   through 100.

      5                                    FOURTH CAUSE OF ACTION

      6                               •           Breach of Contract

      7                                       As Against All Defendants

      8           167.    Plaintiff incorporates by reference each of the preceding paragraphs as though fully

      9   set forth herein.

     10           168.    Health Net and DOES 1 through 100 owe duties and obligations to Plaintiff and the

     11   Class Members under the PPO Policies at issue.

     12           169.    By misrepresenting provider networks, denying coverage or paying less for medical

     13   services on the basis that services were provided by an out-of-network provider, Health Net and

     14   DOES 1 through 100 have uniformly breached the terms and provisions of the PPO Policies

     15   entered into with Plaintiff and the Class Members.

     16           170.    As a direct and proximate result of Health Net and DOES 1 through 100's conduct

     17   and breach of contractual obligations, Plaintiff and the Class Members suffered damages under the

     18   PPO Policies in an amount to be determined according to proof at the time of trial.

     19                                      FIFTH CAUSE OF ACTION

     20                   Breach of the Implied Covenant of Good Faith and Fair Dealing

     21                                       As Against All Defendants

     22           171.    Plaintiff incorporates by reference each of the preceding paragraphs as though fully

     23   set forth herein.                                            •

     24           172.    Through its conduct of misrepresenting provider networks, failing to maintain

     25   adequate provider networks, initiating a groundless dragnet SIU investigation and refusal to

     26   reimburse out-of-network BH/SUD claims to unduly restrict the availability of out-of-network

     27   providers, and reimbursing out-of-network BH/SUD claims with an inapplicable Medicare

     28   reimbursement rate in contravention of the express Policy terms, Health Net and DOES 1 through

                                                      -33-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 35 of 65 Page ID #:43




      1   100 have breached their duty of good faith and fair dealing owed to Plaintiff and the Class

      2   Members.

      3           173.   Plaintiff allege that Health Net and DOES 1 through 100 have breached their duty

      4   of good faith and fair dealing owed to Plaintiff and the Class Members by other acts or omissions

      5   of which Plaintiff is presently unaware and which will be shown according to proof at trial.

      6           174.   As a proximate result of the aforementioned unreasonable and bad faith conduct of

      7   Health Net and DOES 1 through 100, Plaintiff and the Class Members have suffered, and will

      8   continue to suffer in the future, damages under the PPO Policies, plus interest, and other

      9   economic, non-economic and consequential damages, in an amount to be proven at trial.

     10           175.   As a further proximate result of the unreasonable and bad faith conduct of Health

     11   Net and DOES 1 through 100, Plaintiff and the Class Members were compelled to retain legal

     12 counsel and to institute litigation to obtain the benefits due under the contracts. Therefore,
     13   Defendants are liable for those attorney fees, witness fees and litigation costs reasonably incurred

     14   in order for Plaintiff to obtain the benefits owed under the PPO Policies.

     15          176.    Health Net and DOES 1 through 100's conduct described herein was intended to

     16   cause injury to Plaintiff and the Class Members, and was despicable conduct carried on by Health

     17   Net and DOES 1 through 100 with a willful and conscious disregard of the rights of Plaintiff and

     18 the Class Members, subjected Plaintiff and the Class Members to cruel and unjust hardship in
     19   conscious disregard of their rights, and was an intentional misrepresentation, deceit, or

     20   concealment of material facts known to the Health Net and DOES 1 through 100 with the

     21   intention to deprive Plaintiff and the Class Members property, legal rights or to otherwise cause

     22 injury, such as to constitute malice, oppression or fraud under Civil Code section 3294, thereby
     23   entitling Plaintiff and the Class Members to punitive damages in an amount appropriate to punish

     24   or set an example of Health Net and DOES 1 through 100.

     25          177.    Health Net and DOES 1 through 100's conduct described herein was undertaken by

     26 their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health
     27   Net further had advance knowledge of the actions and conduct of said individuals whose actions

     28   and conduct were ratified, authorized, and approved by managing agents whose precise identities

                                                      -J34_-
                                                    COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 36 of 65 Page ID #:44




      1   are unknown to Plaintiff at this time and are therefore identified and designated herein as DOES 1

      2   through 100.

      3                                         SIXTH CAUSE OF ACTION

      4                                               Declaratory Relief

      5                                           As Against All Defendants

      6              178.    Plaintiff incorporates by reference each of the preceding paragraphs as though fully

      7 set forth herein.

      8              179.    An actual controversy has arisen between Plaintiff and the Class Members on the

      9   one hand, and Health Net and DOES 1 through 100 on the other hand, as to their respective rights

     10   and obligations under the PPO Policies. Specifically, Plaintiff and the Class Members contend

     11   that Health Net and DOES 1 through 100's conduct of misrepresenting provider networks, failing

     12   to maintain adequate provider networks, initiating a groundless dragnet SIU investigation and

     13   refusal to reimburse out-of-network BH/SUD claims to unduly restrict the availability of out-of-

     14   network providers, and reimbursing out-of-network BH/SUD claims with an inapplicable

     15   Medicare reimbursement rate in contravention of the express Policy terms, is prohibited by

     16   California law, whereas Health Net and DOES 1 through 100 contend that their conduct was

     17   proper.                                               .

     18              180.   Plaintiff seeks a declaration as to the respective rights and obligations of the

    19    parties.

    20                                             PRAYER FOR RELIEF

    21               Plaintiff individually as successor in interest to Chase Frei, and on behalf of the Class,

    22    prays for relief as follows:

    23               1.     An Order certifying the proposed Class pursuant to Code of Civil Procedure section

    24    382 and Civil Code section 1780 et seq. and appointing Plaintiff to represent the proposed Class

    25    and designating their counsel as Class Counsel;

    26               2.     An Order enjoining Health Net from continuing to engage in the conduct described

    27    herein;

    28               3.     An Order awarding Plaintiff and the Class restitution and such other relief as the

                                                          -_35_-
                                                        COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 37 of 65 Page ID #:45




      1   Court deems proper;

      2            4.      An Order awarding Plaintiff and the Class damages for misrepresenting provider

      3   networks and failure to provide coverage under the contracts, plus interest, including prejudgment

      4   interest, and other economic and consequential damages, in a sum to be determined at the time of

      5   trial;

      6            5.     An Order awarding Plaintiff and the Class punitive and exemplary damages in an

      7   amount appropriate to punish or set an example of Defendants;

      8            6.     An Order declaring the rights and obligations of Plaintiff and the Class Members,

      9   on the one hand, and Health Net, on the other, with regard to the business practices alleged;

     10            7.     An Order awarding Plaintiffs attorney fees, costs and expenses as authorized by

     11   applicable law; and

     12            8.     For such other and further relief as this Court may deem just and proper.

     13                                                 JURY DEMAND

     14            Plaintiff demands a trial by jury.

     15

     16   Dated: May 22, 2018
     17

     18                                                      Daniel J. CallaRan, Esq.
                                                             Edward Susolik, Esq.
     19                                                      Richard T. Collins, Esq.
                                                             Damon D. Eisenbrey, Esq.
     20                                                      Attorneys for Plaintiff PATRICIA MITCHELL,
                                                             individually as successor in interest to Chase
     21                                                      Frei,
                                                             and on behalf of all others similarly situated
     22

     23

     24

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     26

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                                                          -36-
                                                        COMPLAINT
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 38 of 65 Page ID #:46




                     EXHIBIT A
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 39 of 65 Page ID #:47




          i   CALLAHAN & jWLAWE, APLC
              Daniel J. Callahan (Bar No. 91490)
         2    Edward Susolik (Bar No. 151081)
              Richard T. Collins (Bar No. 166577)
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              3 HiMon Centre Drive, Ninth Floor
         4    Santn Ann, Cnliforniu 92707
              Telephone: (714) 241-4444
         5    Tacsimilc; (714) '24 i -4445

         .6 Allomeys for PluimilT PATRICIA MITCI IELL,
              individually as successor in intercsl to Chase Frei,
         7    and on behalf of all.ot.hers similarly situated

         8                                  SUPERIOR COURT OF CALIFORNIA

         9                                        COUNTY OF LOS ANGELES

        10
        II    PATRICIA MITCHELL, individually as                     CASE NO.
              successor in interest to Chnse Frci,
        12    and on behalf of all others similarly situated,

        13                           Plaiiuiff,                      DECLARATION OF PATRICIA
                                                                     MITCHELL RE: SUCCESSOR IN
        14                                                           INTEREST TO CHASE FREI

        15    HEALTH NET, INC., a Delaware
              corporation;
        16    HEALTH NET LIFE INSURANCE
              COMPANY, a California corporation;
        17    HEALTH NET OF CALIFORNIA, INC., a
              California corporation;
        18    MANAGED HEALTH NETWORK, INC., a                        Complain! Filed;
              Delaware corporation;                                  Trial Date:
        19    CENTENE CORPORATION, a Delaware
              corporation; and DOES I through 100,
        20    inclusive.

        21                           Defendants.

        22

        23

        24

        25

        26

        27

        28



                   DECI.ARATION OF PATRICIA MiTCHEU. RR; SUCCESSOR IN iNTEREST TO CHASE I'RBI
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 40 of 65 Page ID #:48




         1           f,.Putriciu Mitchell, declare:                                                 .

         2           1.      I urn the mother of Chase Prei ("Decedenl").

         3           2.      Decedent died on May 6, 201.7, Orange County, California. A certified copy of

         4   Decedent's death certificate is attaehed hereto.

         5           3.      No proceeding is now pending in California lor the hdministrotion of Decedent's

         6 estate.
         7           4.      I am Decedent's successor in interest as denned by Code of Civil Procedure section

         8 377.11, and as provided by Insurunce Code section 10130 and Probaie Code section 6402, and
         9   succeeds to Decedent's interests in this action.

        JO           5.     No other person hns a superior right to commence.this action or to he substilutcd

        I]   for Decedent in this action.

        12           I declare under penalty of perjury under the laws of the State of California that the

        13   foregoing is true and correct. .Executed this //7ctoy of May, 2018, at                          nin.

        14
        15
        16                                                                      Patricia Mitchell
        17
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                  DECLARATION OF PATRICIA MITCHELL RE: SUCCESSOR IN INTEREST TO CHASE.PRE!-
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 41 of 65 Page ID #:49
          Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 42 of 65 Page ID #:50


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                                                                                                         CERTIFICATION OF VITAL RECORD




                                                                                                                           HEALTH CARE AGENCY V
S€rifW ''i:- *;'rv ;:                                                                 •" •*.'! V--''Vv' •" *•••. ••-'',                                                                                        .v'^v';<-VT»^;"



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                                                                   119          ,      •        PENDIMG INVESTIGATION ... . .;,• V                                                       A C C I D E N T S y .                                       ^ " * 1 .                             ..
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                                                                   107! W. SANTA AMA BLVD..                                                              SANTA ANA "V                                                  >CA:\:                         92703>-* •

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Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 43 of 65 Page ID #:51
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                                         SUMMONS                               COPY                                                   _           SUM'100
                                  (CITACION JUDICIAL)                                                                    fmcomrifssamr
                                                                                                                     isomPAM tmmtA cmrm
NOTICE TO DEFENDANT: HEALTH NET, INC., a Delaware
(AVISO AL DEMANDADO): corporation; HEALTH 1JBT&                                                             CONFO?>?:iEDCOPY
COMPANY, a California corporation; HEALTH NET OF                                                               Su^:;,ni;fo7rn",^n'a
CALIFORNIA, INC., a California corporation; MANAGED
HEALTH NETWORK, INC., a Delaware corporation;,CENTENE
CORPORATION, a Delaware corporation; "and DOES 1                                                                  \a 22 2^8
through 100, inclusive
                                                                                                    She ri R. Carter, Executive 0ni;e;/Qefk oi Court
YOU ARE BEING SUED BY PLAINTIFF: PATRICIA MITCHELL,                                                            By: Brittny Smith, Deputy
(LO ESTA DEMANDANDO EL DEMANDANTE): individually as
successor in interest to Chase' Prei, and on behalf of
all others similarly situated

 NOTICE! You have been auod. The court may rfeddo against you without your being heard unless you respond within 30 days. Read the Information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at thb court and have a copy
 served on the plaintiff. A tetter or phone call wfll not protect you. Your written response must be In proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more Information at the CaQfomla Courts
 Online Self-Help Center (vmw.coiirVnh,CG.goY/selfhe(p)t your county law Kbrary, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court derk for a fee waiver form. If you do not file your response on tbne, you may lose the case by default, and your wages, money, and property
 may be taken wtthout further warning from the court.
    There are other legal requirements. Ycu may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the CaDfomla Legal Senrices web sfte {wwwJowhQfpcsUfomla.o/g), the California Courts Online SefrHefp Center
 (www.cowttnfo.ca.gov/$8ffhBtp)t or by contacting your local court or county bar association. NOTE; The court has a statutory Den for waived fees and
 costs on any settlement or arbitration award of $10,000 or more In a tivfl case. The court's Hen must be paid before the court will dismiss the case.
  fAVISOl Lo han demandatio. $1 no mspondo dentro do 30 d/as, ta corte puade deddlren su contra sin escuchar su versidn. Lea fa informaddn a
 conttnuacldn
   Tletw 30 DlAS DE OAl£NDARIO despvda da qua la entreguen esta cflecton ypapates legale a para pmsentar una respuesta poresaito an esta
 corte y hacar qua sa entragua una cop/a a/ damandante. Una carta o una Hamada talafdnlca no to pmtogon. $u respuesta per escrlto tlana qua esfar
 en fbmato leoal corraoto $f dasaa qua procesm su caso an la corte. Ea postble que haya un formularfo qua ustad pueda usarpara su respuesta,
 Puada enconimreatos fdrmularios da la corte y mis Infdrmaoldn en el Centm da Ayuda de las Cortes de California (V/ww.sucorte.ca.gov), an ta
 bMoteca de (eyes da $u condado oenla corte que le queda mds cerca. SI no pueda pagar la cuota da presontaddn, pfda aI secretario da la corte
 que le d6 un formularfo de exenddn de pago da cuotas. SI no presenta su mspuesla a Uampo, puede pardar ef caso por tncumptlmtento y la corte la
 podrA quilarsu sueldo, dlnaro y blertes sin m&s advertenda.
   Hay otros requisites leaales. Bs recomendable qua llama a un abogsdo Inmedlatamenta. Si no conoce a un abegadol pueda llamar a un servfdo de
 remlstdn a abogadca. St no puede pagar a un abogado, as posfbie que cvmpla oon tos requfsltos para obtenar ssrvfebs legafas gratultos da un
 programa de serviotos legeles sin fines da lucre. Puede encontrar estos grupos sin Ones ere lucre en el slth web de California Legal Sendees,
 (Vvww.lawhelpcaQfomta.org;, an el Centro de Ayuda de las Cortes de Caltfomla, (Vww.8ucorte.ca.gov; opontenttose en contacto conla corte o el
 cdeglo de abogados locales. AVISO: Por ley, ta corte tlene demcho a redamarias cuotas y tos oostos exentos por Imponer un gravamen sobra
 cuaiqufer racuperaddn de $10,000 6 m6s da vakr mclblda medlBnte un acuardo o una ooncesldn da arbttraje en un caso de demcho dviL Tlene que
        el gmvamen da la corte antes de que la corte pueda desecharel caso.
   e name and address of the court is:                                                                    CASE NUMBER:
(Q nombre y dlreccldn da la corte as):
LOS ANGELES SUPERIOR COURT                                                                                              80 70691^
111 N. Hill Street
Los Angeles, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney. Is:                                                          .
(El nombm, la dlrecddn y el nOmero da tetefono del abogado del demandanfe, o del demandanfe qua no tlene abogadot es):
Richard T. Collins (SBN 166577)                                                                  714/241-4444                   714/241-4445
CALLAHAN & BLAINE, APLC
3 Button Centre Drive, Ninth Floor
Santa Ana, CA 92707                                                                            fXi/.M                               -
DATE:           MAY 1E4 2 2018 SHERRI R-CARTER                               C\etk.by                                          V^7                Deputy
(Fecha)      nHl        ^                                          (Secmtario)         •     /                                                    (Adlunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prveba de entrnga de esta citatldn use el fomularlo Proof of Service of Summons, (PQS-Q1Q)}.                                        '
                                     NOTICE TO THE PERSON SERVED: You are served
                                     1. I 1 as an Individual defendant.

                                     ,
                                     2. I I as the person sued under the fictitious name of (specify):                ^                   ^
                                                                                thulfK               M e h t f - C ml i f t ™ < 4 7 ^ ^ ,

                                         under iXl CCP 418.10 (corporation)                                I      [CCP 418.60 (minor)
                                               X I CCP 416.20 (defunct corporation)                        I      I CCP 418.70 (conservatee)
                                               I I CCP 418.40 (association or partnerehlp)                 I      [ CCP 418.90 (authorized person}
                                               I | other (specf/y;:
                                     4. I    I by personal deitvery on fttete):                                                                        p^icm
 Form Adci^osl ?or HsndslKy Us®                                       SUMMONS                                                 Cod* a!CM pTonOm £9 412J0.4SS
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  SWI® Ptev. Wy 1.2009)
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Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 44 of 65 Page ID #:52

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    CALLAHAN & BLAINE, APLC                                                                                           Supf'flcu Courl of C^lilprnia
    3 Button Centre Drive, Ninth Floor                                                                                  C*" n!'* i O'* A-r*"' —
    Santa Ana, CA 92707
         telephone wx- 714-241-4444             FAX no: 714-241-4445                                                              2 2 1; ; 8
   attcsikey FDA (HKmp PlamtijGf PATTRICIA MITCHELL, et al.
  SUPSWOR COURT OF CAUFORNIA, COUMTY OF LOS ANGELES             -                                            jherri R. Cartel, Executive Glicei/Cleik ol Coun
       streetaddhess: HI K, Hill Street      .           '
       MAaiHOADonsss: Same as Above                                                                                 By: Bn'ttny Smith, Deputy
      otyahobpcode: Los Angeles. CA 90012
          brakch name: Stanley fvlosk Courthouse
    CASE NAME
    PATRICIA MITCHELL, et al v. HOBALTH NET, INC., et al.
         CIVIL CASE COVER SHEET                                  Complex Case Designation
  GD Unlimited                  CZ] Limited
          (Amount                     (Amount                (ZD Counter            CZ] Joinder
          demanded'                   demanded la
                                                                                                   JUDGE:
                                                             Filed with first appearance by defendant
          exceeds $25,000)            $25,000 or less)           (Cat Ruled of Court, rule 3.402)   DEPT:
                                           Items 1-6 betowmust be cowpfeted (see fnatrucllons onpage 2).
  1. Check one box below for the case type that best describes (his case:
     Auto Tort                                           Cen&BCt                                   Provisionally Complex Clvfl UUgotion
     1     j Auto (22)                                   • Breach of contrsctAvanenty (03)         (Cat Rulos of Court rules 3.400-3.403)
     I     1 Uninsured motorist (46)                     dl Rule 3,740 colledlorts (09)                   I Antitrust/Trade regutallon (03)
     Other PI/PD/WD (Pereorml Injury/Property
     Damega/Wrongful Death) Tort
                                                         B    other collections (09)                   ZZ)   Construction defect (10)
                                                                Insurance coverage (18)                ZD Mass toil (40)
     1
     I
        1 Asbestos (04)
           1 Product DabllBy (24)
                                                         • Other contrad (37)                          ZD    Secwtties OtlgatJon (28)
                                                         Real Proporty                                 ZD GnvtronmentaVToxte lort (30)
     I     1 Medical malpractice (45)                    • Endnen! donialn/lnvQmg
                                                               condemnation (14)
                                                                                                   CD         nsurence coverege dalms artslng from the
    • Other PI/PD/WD (23)                                                                                    above listed provisionally complex case
                                                         I   I Wrongful ovldlon (33)                         types (41)
    Non-Pi/PD/WD (Other) Tort
    • Business tcrt/unfalr buBlnses precttce (07) I   I Other real property (26)                   Enforcement of Judgmant
    • CM) rights (08)                             Unlawful Detainer                               • Enforcement of Judgment (20)
                                                         1     I Commsrci8)(31)
                                                         [ID
    • Defamation (13)                                                                              WlBcollanoous Civ I! Complaint
    • Fraud (18)                                                 Realdentlal (32)                  D RICO (27)
     I     j Intetlsdual property (18)                   a Drugs (38)                              I      I Other complaint (not EpedlJed ahow) (42)
     I     I ProfessJonai negligence (26)                Judicial Review                           Miscellaneous CMI Petition
     I     I Other non-PI/PD/WD tort (35)                I     I Asset forfeiture (05)               • Partnership end corporate governance (21)

    S Whrngftri termination(33)
                                                         I     I PetlUon re: artrftrallon award (11)
            oymen!                                                                                   I I Other petition (no! spedflod abovQ) (43)
                                                         !     I Writ of mandate (02)
    I      I Other emptoyment (15)                       |    | Other fudldal revtew (39)
  2. Thbcase I / I la            1 1 la not     complex under rule 3,400 of the California Rules of Court. If the case Is complex, mark the
        fectcre requiring exceptional Judicial management:
        a. 1 1 Large number of separately represented parties         d. I / I Large number of witnesses
        b. 1 / 1 Extensive motion practice raising difficult or novel e. r n Coordination with related actions pending In one or more courts
                 Issues that will be time-consuming to resolve                 In other counties, states, or countries, or in a federal court
        aCZ) Substantial amount of documentary evidence               f. m Substantial postjudgmsnt Judldal supervision
        Remedies sought (chock all that apply): a,l / ) monetary b.f/l nonmonetary; dedaratory or Injunctive relief                        c.[2punitive
        Number of causes of action (specify): Six
        This case I / 1 Is • Is not a dass action suit
        if there are any known related cases, file and serve a notice of related CQsprffSttmeyms t
  Date: May 22, 2018
  Ricbard T. Collins                                                                 k
                                (TYPE QJR FRWT KAME)                                              (SiQHATURg OF PARTY OH ATTORNEY FOR PARTY)
                                                              »         NOTICE                                                   ^
   @ Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small datms cases or cases filed
     under the Probate Code, Family Code, or Welfare and fnsfitutlons Code). (Cat. Rules of Court, rule 3.220.) FaQure to file may result
     In sanctions.
   • File this cover sheet In addition to any cover sheet required by local court rule.
   • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
   • Unless this Is a collections case under rule 3.740 or a oomptex case, this cover sheet will be used for statistical purposes onjj^
                                                                                                                                                          of!
   Jy^cts) CookQdMtenf®                                  Civil
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   CM-010 pie¥„ Mf tf   l&JT}                                                                                                                 wmfxauj&sksxa-gm
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 45 of 65 Page ID #:53



                                                       .                                                                                       cwwto
                                          INSTRUCTIONS ON HOW TO COMPieTE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper {for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the CM Case Cover Sheet contained on page 1. This Information will be used to compile
statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that Is not more than $25,000, exclusive of interest and attome/s fees, arising from a transaction In
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages* (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The Identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3J40 collections
case will be subject to the requirements for sen/ice and obtaining a judgment in rule 3740.
To Parties In Complex Cases. In complex cases only, parties must also use the CMI Case Cover Sheet to designate whether the
case Is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE jypgg AND EXAMPLES

Auto Tort                                         Contract                                               Provisionally Complex Civil Litigation (Cal.
   Auto (22}-Per&onal Injury/Property                Breach of Contract/Warranty (06)                    Rules of Court Rules 3.400-3.403)
        Damage/Wrongful Death                            Breach of Rental/Lease                               Antilrust/Trade Regulation (03)
    Uninsured Motorist (46) {if the                          Contract (not unlawful detainer                  Construction Defect (10)
           case involves en uninsured                              or wrongful eviction)                      Claims Involving Mass Tort (40)
           motorist claim subject to                      Contract/Warranty Breach-Seller                     Securities Utlgatfon (28)
           arbitration, check this Item                        Plaintiff (not fraud or negligence)            Environmental/Toxic Tort (30)
           instead of Auto)                               Negligent Breach of Contract/                       Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                               Warranty                              •            (arising from provisionally complex
Property Damage/Wrongful Doath)                           Other Breach of Contract/Warranty                       case type listed above)(41)
Tort                                                  Collections {e.g., money owed, open                 Enforcement of Judgment
    Asbestos (04)                                         book accounts) (09)                                Enforcement of Judgment (20)
         Asbestos Property Damage                         Collection Case-Seller Plaintiff                       Abstract of Judgment (Out of
                                                          Other Promissory Note/Colledlons                           County)
         Asbeslos Personal Injury/
              Wrongful Death                                   Case                                              Confession of Judgment (non-
    Product Liability (not asbestos or                Insurance Coverage (not provisionally                            domestic relations)
                                                           complex) (18)                                          Sister State Judgment
         toxIc/environmenfei) (24)
    Medical Malpractice (45)                              Auto Subrogation                                        Administrative Agency Award
          Medical Malpractice-                            Other Coverage                                             (not unpaid taxes)
              Physicians & Surgeons                  Other Contract (37)                                         Petition/Certification of Entry of
                                                          Contractual Fraud                                         Judgment on Unpaid Taxes
         Other Professional Health Care
               Malpractice                                Other Contract Dispute    .                            Other Enforcement of Judgment
                                                  Real Property                                                       Case
    Other PI/PD/WD (23)
                                                     Eminent Domain/Inverse                               Miscellaneous Civil Complaint
         Premises Liability (e.g., slip
                                                         Condemnation (14)                                   RICO (27)
              and fall)
         Intentional Bodily tn{ury/PD/WD             Wrongful Eviction (33)                                  Other Complaint (not specified
                                                                                                                 above) (42)
              (e.g., assauIL vandalism)              Other Real Property (e.g., quiet title) (28)
                                                                                                                 Declaratory Relief Only
         Intentional Infliction of                        Writ of Possession of Real Property                    Injunctive Relief Only (non-
               Emotional Distress                         Mortgage Foreclosure                                        harassment)
         Negligent infliction of                          Quiet Title
                                                                                                                  Mechanics Uen
               Emotional Distress                         Other Real Property (not eminent
                                                                                                                  Other Commerdai Complaint
         Other Pi/PD/WD                                    domain, landlord/tenant, or
                                                                                                                      Case (non-tort/hon-complex)
Non-PI/PD/WD (Other) Tort                                  foreclosure)
                                                                                                                  Other Civil Complaint
    Business Tort/Unfalr Business                 Unlawful Detainer                                                   (non-tort/non-compldx)
       PracUce (0?)                                  Commercial (31)
                                                                                                          Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,               Residential (32)                                       Pertnership and Corporate
        false arrest) (not civil                      Drugs (38) (if the case Involves illegal                   Governance (21)
          harassment)       (08)                           drugs, check this Item; othe/wlse,                Other Petition (not specified
      Defamation (e.g., slander, libel)                    report as Commerdai or Residential)                   above) (43)
            (13)                                  Judicial Review                                                CMI Harassment
      Fraud (16)                                     Asset Forfeiture (05)                                       Workplace Violence
      Intellectual Property (19)                      Petition Re; Arbitration Award (11)                        Elder/Dependent Adult
      Professional Negligence (25)                   Writ of Mandate (02)                                             Abuse
          Legal Malpractice                                Wrlt-Adminlslratlve Mandamus                          Election Contest
          Other Professional Malpractice                   Writ-Mandamus on Limited Court                        Petition for Name Change
              (not medical or legal)                          Case Matter                                        Petition for Relief From Late
   Other Non-PI/PD/WD Tort (35)                            Writ-Other Limited Court Case                              Claim
Employment                                                    Review                                             Other Civil Petition
   Wrongful Termination (38)                         Other Judicial Review (39)
   Other Employment (15)                                   Review of Health Officer Order
                                                           Notice of Appeal-Labor
                                                              Commissioner Appeals
CM-OW [R&v. July 1, 200?]                                                                                                                        Pago 2 of 2
                                                      CIVIL CASE COVER SHEET
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 46 of 65 Page ID #:54

                                                                               COPY
                                                                                                      CWEMUMBm
          ^PATRICIA          M|TCHELL> 8t a| v>         HEALTH NET, INC., et al.                                     3C 70 8 9 2 ^

                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OFLOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
              This form fs required pursuantto Local Rule 2J In all new clvf) ease tilings In the Los Angeles Superior Court


     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010}, find the exact case type In
                   Column A that corresponds to the case type Indicated tn the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                           Applicable Reasonsfor Choosing Court Filing location (Column C)

1. Class adiona must be filed In the Slenley Mosk Courthouse, Central District        7. Location where petitioner resWea,

2. Permissive tiling tn central district                                              8. Location wherein defendent/respondent functions wholly.

3. Location where cause of action arose.                                              0. Location whore one or more of Ihs parties reside.

4. Mandatory parconaJ Injury flDng In North District,                                10. Location of Labor Commlsslorter Office.
                                                                                     11, Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where perfofmance required or defendant resides.                         norv-oollectlor^ limited coltectior% or personal Injury).
8. Location of property or permanency garaged vehlde.




                             y A V ./v,                                    i:..- ,B             .. :      /.•   .                    /              ' C ' / • : •'
                     Cfvfl Case Cover Sheet. •                      •*/   '/•      Typb of Action1 •'.          •"                        Ap^Ocable Reasons -
                           Category No.            ,        "   '                 (Check only one)                                    .    See Step3 Above

                            Auto (22)              O A7100 Motor Vehtete - PerswiaJ Injury/Property Damage/Wrongful Death                 1» 4,11

   <     b-         Uninsured Motorist (48)        • A7110 Personallitfujy/PropertyDamaga/WrongfiilDeath-Uninsured Motorist               1.4,11


                                                   • A807Q Asbestos Prqparty Damage                                                       1.11
                          Asbestos (04)
                                                   O A7221 Asbestos - Perscmi] InJuryAVrongful Daath                                      1. 11
    cL k-
    2£                Product Liability (24)       O A7260 Product UsbUlty (not asbestos or toxfc/environmental)                          1.4.11

                                                   O A7210 Metflcal Malpractice • Physicians & Surgeons                                   1,4,11
   -^3              Medical Malpractice (46)
   £     U                                         • A7240 Other ProfeaslonaJ Health Care Melpractlca                                     M, 11

   ii
    i «i&&
   fS.                  Other PersonaS
                                                   O A7250 Premises liability (e.g., sflp and fall)
                                                                                                                                          1,4, 11


   n
                        Injury Property            O A723S IntentlonaJ SodDy Injuiy/Property Damage/Wrongful Death (e.g.,
    Of                                                                                                                                    1.4,11
                       Damage VWongful                     sasaull, vandalism, etc.)
                          Death (23)                                                                                                      1,4,11
                                                   O A7270 IntemionaJ Infliction of Emotional Distress
                                                                                                                                          1.4.11
                                                   • A7220 Olhar PerBonal Injury/Property Damage/Wrongful Death




  LACIV109 (R9V 2/16)                             CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
  LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                          Page 1 of 4
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 47 of 65 Page ID #:55




SHORT TIRE:                                                                                        CASE NUMBER
              PATRICIA MITCHELL, et al v. HEALTH NET, INC., ©t aL


                             A.                                                                                                    C Applicable ;-v/
                '' Clvi] Cas© Cover Sheet.     • 0 if'-'lvT-'. ^   T   y   p e o f .A d l o h / j ! - :V                    - V Reasons See 'step 3
              'y>Category,No.|,:                                           X y - l -yi(Check only                  y.         :       Above

                    Business Tort (07)          D A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                      Civil Rights (08)         • A6005 Civil RIghts/Dlscrlmlnatlon                                                1,2>3

                      Defamation (13)           • A6010 Defamation (slander/libel)                                                 1,2,3

                         Fraud (16)             • A6013 Fraud (no contract)                                                        1, 2,3


                                                O A0O17 Legal Malpractice                                                          1,2,3
               Professional Negligence (25)
                                                • A6050 Other Professional Malpractice (not medical or legal)                      1,2,3


                         Other (35)             • A6025 Other Non-Personal Injury/Property Damage tort                             1,2,3


                 Wrongful Termination (36)     • A6037 Wrongful Termination                                                        1,2,3

                                               • A6024 Other Employment Complaint Case                                             1,2,3
                  Other Employment (15)
                                                D A6109 Labor Commissioner Appeals                                                 10


                                               Q A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2,5
                                                       eviction)
               Breach of Contract/Warranty                                                                                        2.5
                           (06)                O A6008 ContractAWarranty Breach -Seller Plaintiff (no fraud/neglfgence)
                     (not Insurance)                                                                                              1,2,5
                                                P A6019 Negligent Breach of ContractAAtorranty (no fraud)
                                                                                                                                  1.2,5
                                               O A6028 Other Breach of ContractAAterranty (not fraud or negligence)

                                               • A6002 Collections Case-Seller Plaintiff                                          5,9, 11
                     Collections (09)
                                               • A6012 Other Promissory Note/Collections Case                                     5,11
                                               • A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                       Purchased on or after January 1, 2014)                  •

                 Insurance Coverage (18)       O A6015 Insurance Coverage (not complex)                                           1,2,5,8


                                               • A6009 Contractual Fraud                                                          1,2,3,5
                    Other Contract (37)        O A6031 Tortious Interference                                                      1,2, 3,5
                                               • A6027 Other Contract Dlspute(not breach/Insurance/fraud/negllgence)              1,2,3,8.9

                 Eminent Domain/Inverse                                                                                           2,6
                                               • A7300 Eminent Domain/Condemnation                   Number of oarcels
                   Condemnation (14)

                  Wrongful EvIclJon (33)       O A6023 Wrongful Eviction Case                                                     2,6

                                               • A6018 Mortgage Foreclosure                                                       2,6

                 Other Real Property (26)      P A6032 Quiet Title                                                                2,6

                                               O A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

               Unlawful Detainer-Commercial                                                                                       6,11
                                               P A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                            (31)

               Unlawful Detainer-Residential
                                               • A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
                           (32)
                   Unlawful Detalner-                                                                                             2, 6 , 11
                                               • A6020F Unlawful Detalner-Post-Forectosure
                  Post-Foreclosure (34)

               Unlawful Detainer-Drugs (38)    • A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



LACSV109 (Rev 2/16}                            CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                       Page 2 of 4
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 48 of 65 Page ID #:56




SHORT TITLE:                                                                                     CASE NUMBER
           ' PATRICIA MITCHELL, @1 a! v. HEALTH NET, INC., ©t al.

                                                                                                                                  v C AppncableV'v^
               A*. ^Clyll Case Cover Sheetv                       ?V' *.         VType;of-Action          c'-"           v'     .Reasons-See Step 3*
               %i- Jkv Category.No! .-    .                                  ^   (Che^onlyonejv/^-^';'.^-^                            Above- ^ '

                    Asset Forfeiture (05)         O A810S Asset Forfeiture Case                                                  2,3,8

                 Petltfon re Afbltratlon (11)     O A6115 Petition to Compet/Conflrm/Vacate Arbitration                          2.5

                                                  • A0151 Writ-Administrative Mandamus                                           2,8

                    Writ of Mandate (02)          • A6152 Writ - Mandamus on Limited Court Case Matter                           2
                                                  • A6153 Writ - Other Ltmlted Court Case Review                                 2

                 Other Judicial Review (39)       • A6150 Other Writ/Judicial Review                                             2,8


               Antitrust/Trade Regulation (03)    P A6003 Antitrust/Trade Regutatlon                                             1,2,8

                  Construction Defect (10)        • A6007 Construction Defect                                                    1,2,3

                 Claims Involving Mass Tort
                                                  • A6008 Claims Involving Mass Tort                                 *           1,2,8
                            (40)

                  Securities Litigation (28)      • A6035 Securities Litigation Case                                             1,2,8

                         Toxic Tort
                                                  • A6036 Toxic Tort/Environmental                                               1,2,3,8
                     Environmental (30)

                Insurance Coverage Claims
                 from Complex Case (41)
                                                  El A6014 insurance Coverage/Subrogation (complex case only)                   3    )2,5,8


                                                 • A6141 Sister State Judgment                                                   2, 5,11
                                                 • A6180 Abstract of Judgment                                                    2,6

                         Enforcement              Q A$107 Confession of Judgment (non-domestic relations)                        2,9
                      of Judgment (20)           • A6140 Administrative Agency Award (not unpaid taxes)                          2, 8
                                                  D A0114 Petition/Certificate for Entry of Judgment on Unpaid Tax               2,8
                                                 • A6112 Other Enforcement of Judgment Case                                      2, 8,9

                         RICO (27)               • A6033 Racketeering (RICO) Case                                               1, 2t 8

                                                 O A6030 Deciaratory Relief Only                                                 1,2,8
                                                 • A6040 Injunctive Relief Only (not domestic/harassment)                       2,8
                      Other Complaints
                 (Not Specified Above) (42)      • A6011 Other Commercial Complaint Case (non-tort/non-complex)                 1,2,8

                                                 • A6000 Other Civil Complaint (non-tort/non-complex)                           1,2,8

                  Partnership Corporation                                                                                       2,8
                                                 • A6113 Partnership and Corporate Governance Case
                     Governance (21)

                                                 O A6121 Civil Harassment                                                       2, 3,9

                                                 • A0123 Workplace Harassment                          '                        2, 3, 9

                                                  P A6124 Elder/Dependent Adult Abuse Case                                      2, 3,9
                    Other Petitions (Not
                   Specified Above) (43)         P A6190 Election Contest                                                       2
                                                 • A6110 Petition for Change of Name/Change of Gender                           2,7
                                                 O A6170 Petition for Relief from Late Claim law                                2,3.8
                                                 • A6100 Other Civil Petition                                                   2,9




LACSV 109 (Rev 2/16)                             CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
LASC Approved 03-04                                 AND STATEMENT OF LOCATION                                                   Page 3 of 4
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 49 of 65 Page ID #:57




 SHORT TmE:                                                                             CASE NUMBER
              PATRICIA MITCHELL, et al v. HEALTH NET, INC., et al



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                    ADDRESS:
   REASON:

    Bl.02.D3.a4.D5.C36.07. 08.0 9.010.011.



   CITY:                                   STATE;      Zip CODE:

   Los Angeles                             CA         90012


Step 5: Certification of Assignment: 1 certify that this case is properly filed in the Los Angeles                                 District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seqv and Local Rule 2.3(a)(1)(E)].




  Dated: May 22, 2018
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.

       2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3.   Civil Case'Cover Sheet, Judicial Council form CM-010.              '

       4.   Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            02/16).
       5.   Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

       6.   A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                    CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
  LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                     Page 4 of 4
    Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 50 of 65 Page ID #:58


                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                  NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL - CLASS ACTION
                               312 N. SPRING STREET COURTHOUSE
                                          Case Number             BCypSQA1?

                            THIS FORM IS TO BE SERVED WITH'THE SUMMONS AND COMPLAINT

    Your case Is assigned for all purposes to the judicial officer indicated below.

                                                                  ITTT
                 ASSIGNED JUDGE               DEPT      ROOM                           ASSIGNED JUDGE              DEPT   ROOM
           Hon. Elihu M. Berle                 6         211
                                                                  n

           Hon. WiUiam F. Highberger            10         10
                                                                  is

           Hon. John Shepard Wiley, Jr.          9         9

           Hon. Kenneth Freeman                 14         14            -




           Hon. Ann Jones                        n         11
                                                                  =F
           Hon. Maren E. Nelson                 17         17

           Hon. Carolyn B. Kuhl                 12         12         i'rifii


                                                                  S


                                                                  EE




                                                                  =




                                                                  =




                                                                  —




                                                                                 Hon. Brian S. Currey               15        15

                                                                  —
                                                                                 •Provisional complex (non-class          Supervising
                                                                                 action) case assignment pending    12      Jinjgt
                                                                                 complex determination                        12


    Given to the PlaintiftfCross-Compiainant/Attomey of Record on _             MAY 2 2 2018
                                                                                      (Date)


    SHERRI R. CARTER, Executive Officer/Clerk of Court

    By                                          , Deputy Cleric


LACIV190 (Rev 12/17)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
    Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 51 of 65 Page ID #:59


                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.                                                               .

APPLICATION                                                                                                      .
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-complaints
shall be served within 30 days of the filing date and a proof of service filed within 60 daiys of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial
date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All parties
shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested form jury
instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These matters may be
heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged lists of exhibits
and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required by Chapter Three
of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party, or if
appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rulest and adherence only to the above provisions Is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent Calendar
Courtroom for all purposes.

* Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge ofcomplex litigation for determination of complex
status. If the case is deemed to be complex within the meaning of California Rules of Court 3,400 et seq., it will be randomly assigned
to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be returned to an Independent
Calendar Courtroom for all purposes.




LACIV ISO (Rev 12/17)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/08
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 52 of 65 Page ID #:60




                                 VOLUNTARY EFFICIENT UTIGATION STIPULATIONS


                                    The Early Organizational Meeting Stipulation, Discovery
                                 Resolution Stipulation, and Motions in Limine Stipulation are
  Superior Court of California
  County of Los Angclos
                                 voluntary stipulations entered into by the parties. The parties
                                 may enter into one, two, or all three of the stipulations;
                                 however, they may not alter the stipulations as written,
    LACBA                        because the Court wants to ensure uniformity of application.
  Los Angeles County
  Bar Association                These stipulations are meant to encourage cooperation
  LUIgation Section

  Los Angeles County
                                 between the parties and to assist in resolving issues in a
  Bar Association Labor and
  Employmont Law Soction         manner that promotes economic case resolution and judicial
                                 efficiency.
   <37nr
    II It
    1111                            The    following   organizations    endorse    the   goal   of
  Consumer Attorneys
  Association of Los Angolos     promoting efficiency in litigation and ask that counsel
                                 consider using these stipulations as a voluntary way to
                                 promote communications and procedures among counsel
                                 and with the court to fairly resolve issues in their cases.

                                 +Los Angeles County Bar Association Litigation Section^
  Southern California
  Defense Counsel
                                           • Los Angeles County Bar Association

               tnuO I®
                                               Labor and Employment Law Section •
       abtL
       Ma




  Association of
  Business Trial Lawyers             •Consumer Attorneys Association of Los Angeles^


                                          •Southern California Defense Counsel•


                                          •Association of Business Trial Lawyers•
      & GELA &
           fo® cwwra «s>cr
  California Employment
  Lawyers Association
                                      •California Employment Lawyers Association^


     LACIV 230 (NEW)
     LASC Approved 4-11
     For Oplional Use
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 53 of 65 Page ID #:61




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        TELEPHONE                              FAX NO. (Opltonal).
 BMAH ADDRESS (Optonal)"
   ATTORNEY FOR fNamey
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT

                                                                                     CASE NUMBER.
         STIPULATION - EARLY ORGANIZATIONAL MEETING

     This stipulation is Intended to encourage cooperation among the parties at an early stage in
     the litigation and to assist the parties In efficient case resolution.
     The parties agree that:
     1. The parties commit to conduct an initial conference (In-person or via teleconference or via
        videoconference) within 15 days from the date this stipulation is signed, to discuss end consider
        whether there can be agmement on the following:
             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so. the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resotve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or Information by any party cure an uncertainty in the pleadings?
             b. Initial mutual exchanges of documents at the "core* of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core.* In a personal injury case, an Incident or
                police report, medical records, and repair or maintenance recoixJs could be considered
                "core.");
             c. Exchange of names and contact information of witnesses;
             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                Indemnify or reimburse for payments made to satisfy a judgment;
             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;
             f. Controlling issues of law that, If resolved early, will promote efficiency and economy In other
                phases of the case. Also, when and how such Issues can be presented to the Court;
         g. Whether or when the case should be scheduled with a settlement officer, what discovery or
            court ruling on legal issues is reasonably required to make settlement discussions meaningful,
            and whether the parties wish to use a sitting judge or a private mediator or other options as
    LACIV 229 (Rev 02/15)
    LASC Approved04/11        STIPULATION - EARLY ORGANIZATIONAL MEETING
    fm Optional Us®                                                                                             Page 1 o!2
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 54 of 65 Page ID #:62




             discussed in the "Attemativa Dispute Resolution (ADR) Information Package" served with the
             complaint;
          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;
        I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
           wwwJacourt.ora under'CMt and then under'General Information°).
   2.        The time for a defending party to respond to a complaint or cross-complaint will be extended
             to                         for the complaint, and                            for the cross-
                      (INSERT DATE)                                       (INSERT DATE)
             complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
             and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
             been found by the CMI Supervising Judge due to the case management benefits provided by
             this Stipulation. A copy of the General Order can be found at wwwJacourt.ora under "GMT,
             dick on"Genera! Information", then dick on *Voluntary Efficient Utigaiion Stipulations'.
   3.        The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way it may assist the parties'
             effident conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and fife the documents when the CMC
             statement is due.
   4.        References to "days* mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day
   The following parties stipulate;
   Date

                (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
   Date
                                                               >
                (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:
                                                               >
                (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Dale:
                                                               >
                (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:
                                                               >
                (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                          1
   Date:
                                                               >
                (TYPE OR PRINT NAME)                                 CATTORNEYFOR                           )
   Date:
                                                               >
                (TYPE OR PRINT NAME)                                (ATTORNEY FOR „



                           STIPULATION - EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 55 of 65 Page ID #:63



                                                         gTAWBmMMmm




          TELEPHONE NO'                       FAXWO.ICWfconaJ) •
 E-MAQ. ADDRESS (OjrtxmaJ)
    ATTORNEY FOR (Nome)
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

(PLAJMTIFF.


DEFENDANT

                                                                                  CASE NUMBER.
                 STIPULATION - DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an Informal conference with the Court to aid In the
      resolution of the issues.
      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

     2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
        and determine whether it can be resolved informally. Nothing set forth herein will preclude a
        party from making a record at the conclusion of an Informal Discovery Conference, either
        orally or in writing.

     3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
        presented, a party may request an Informal Discovery Conference pursuant to the following
        procedures:

              a. The party requesting the Informal Discovery Conference will:

                  i.    File a Request for Informal Discovery Conference with the clerk's office on the
                        approved form (copy attached) and deliver a courtesy, conformed copy to the
                        assigned department;

                 ii.    Include a brief summary of the dispute and specify the relief requested; and

                iii.    Serve the opposing party pursuant to any authorized or agreed method of service
                        that ensures that the opposing party receives the Request for Informal Discovery
                        Conference no later than the next court day following the filing.

              b. Any Answer to a Request for Informal Discovery Conference must

                  i.    Also be filed on the approved form (copy attached);

                 ii.    Include a brief summary of why the requested relief should be denied;
     LACIV 038 (naw)
     LASC Approved 04/11          STIPULATION - DISCOVERY RESOLUTION
     For Op total Use                                                                              Peg® 1 of 3
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 56 of 65 Page ID #:64


    eMORTime




               iii.   Be (ited within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party'pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day foiiowing the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

        d. If the Court has not granted or denied the Request for Informal Discovery Conference
           within ten (10) days following the filing of the Request, then it shad be deemed to have
           been denied. If the Court acts on the Request, the parties will be notified whether the
           Request for Informal Discovery Conference has been granted or denied and, if granted,
           the date and time of the Informal Discovery Conference, which must be within twenty (20)
           days of the filing of the Request for Informal Discovery Conference.

        e. If the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

   4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
      without the Court having acted or (c) the Infomtal Discovery Conference Is concluded without
      resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   5. The parties hereby further agree that the time for making a motion to compel or other
      discovery motion is tolled from the date of filing of the Request for Informal Discovery
      Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
      filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
      by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing,* within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

   6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
      an order shortening time for a motion to be heard concerning discovery.

   7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
      terminate the stipulation.

   8. References to "days* mean calendar days, unless otherwise noted. If the date for performing
      any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
      for performing that act shall be extended to the next Court day.



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Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 57 of 65 Page ID #:65




    The following parties stipulate;
    Date:
                    (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
    Date:
                                                       >
                    (TYPE OR PRINT NAME)                            jATTORNeY   1FQR o^ENnAMT)
    Date:
                                                       >
                    (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
    Date:
                                                       >
                    (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
    Date:
                                                       >
                    (TYPE OR PR/NT NAME)                    (ATTORNEY FOR                            )
    Date:
                                                       >
                    (TYPE OR PRJNT NAME)                    (ATTORNEY FOR                            )
    Date:
                                                       >
                    (TYPE OR PRINT NAME)                    (ATTORNEY FOR                            )




                                                                                                            /




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Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 58 of 65 Page ID #:66




                                                                                                                OsSfisflt Stassp




         TELEPHONE NO-                                FAX NO (GptoftaJ)
 B-m£L ADDRESS (Optonof):
    ATTORNEY FOR (NamoV
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                     •

PLAINTIFF:

DEFENDANT.

                                                                                                CASE NUMBER.
       v               INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stputation of the parties)
     1. This document relates to:
           PI      Request for Informal Discovery Conference
           •       Answer to Request for Informal Discovery Conference
     2. Deadline for Court to decide on Request:                    (insert date 10 calendar days fonowmg tamg of
             the Request)

     3. Deadline for Court to hold Informal Discovery Conference:                                         {insert data 20 calendar
             days fbOowmg filing of the Request)

     4. For a Request for Informal Discovery Conference, briefly describe the nature of the
        discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
        Request for Informal Discovery Conference, briefly describe why the Court should deny
        the requested discovery, Including the facts and legal arguments at Issue.




                                            INFORMAL DISCOVERY CONFERENCE
    For optmnaJ use                 (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 59 of 65 Page ID #:67




imaM&wmmsofATYomErwPAmYmmmjTihtTmmr                       mAmBAMmmm                     mMtm$dkw€M¥«FMStmp




             TELEPHONE NO:                   FAX NO (OptbonaJ)-
 E-MAIL ADDRESS (Optcnal)
    ATTORNEY FOR fNaroel
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS.

PLAINTIFF:

DEFENDANT

                                                                                CASE NUMBER
              STIPULATION AND ORDER - MOTIONS IN LIMINE


     This stipulation is Intended to provide fast and Informal resolution of evidentiary
     Issues through diligent efforts to define and discuss such issues and limit paperwork.


     The parties agree that:
     1. At least       days before the final status conference, each party will provide all other
        parties with a list containing a one paragraph explanation of each proposed motion in
        limine. Each one paragraph explanation must identify the substance of a single proposed
        motion in limine and the grounds for the proposed motion.

     2. The parties thereafter will meet and confer, either in person or via teleconference or
        videoconference, concerning all proposed motions in limine, in that meet and confer, the
        parties will determine:

         a. Whether the parties can stipulate to any of the proposed motions. If the parties so
            stipulate, they may file a stipulation and proposed order with the Court

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The partes will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

    3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
       a short joint statement of issues will be briefed and filed In accordance with the California
       Rules of Court and the Los Angeles Superior Court Rules.



    LACIV 075 (new)
    LASC Approved 04/11      STIPULATION AND ORDER - MOTIONS IN LIMINE
    For Optional Use                                                                                Pago 1 of 2
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 60 of 65 Page ID #:68




    The following parties stipulate:
    Date:

             (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
    Date:
                                              >
             (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
    Date:
                                              >
             (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
    Date:                                     >
             (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
    Date:
                                              >
             (TYPE OR PRINT NAME)                 (ATTORNEY FOR                      )
    Date:
                                              >
             (TYPE OR PRINT NAME)                 (ATTORNEY FOR                      )
    Date:
                                              >
             (TYPE OR PRINT NAME)                 (ATTORNEY FOR.



   THE COURT SO ORDERS.

     Date:
                                                           JUDICIAL OFFICER




        '%Z£3-04/11   STIPULATION AND ORDER - MOTIONS IN LIMINE               Page 2 of 2
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 61 of 65 Page ID #:69




                           Superior Court of California
                             County of Los Angeles




              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                  INFORMATION PACKET



               The person who files a civil lawsuit (plaintiff) must include the ADR Information
               Packet with the complaint when serving the defendant Cross-complainants must
               serve the ADR Information Packet on any new parties named to the action
               together with the cross-complaint.

               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR).

               In ADR, trained, impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
               the court. Neutrals can help resolve disputes without having to go to court.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
 Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 62 of 65 Page ID #:70




Advantages of ADR
  • Often faster than going to trial
  • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
  • May permit more participation, allowing parties to have more control over the outcome.
  • Allows for flexibility in choice of ADR processes and resolution of the dispute.
  • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
      mutually agree to remedy.
  • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
     stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.
   • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
      Jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
   • ADR may not be effective if it takes place before the parties have sufficient Information to resolve the
      dispute.
   • The neutral may charge a fee for his or her services.
   • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
      costs of trial, such as attorney's fees and expert fees.


The Most Common Types of ADR

    •   Mediation                     .

        In mediation, a neutral {the mediator} assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            •   Mediation is particularly effective when the parties have a continuing relationship, like
                neighbors or business people. Mediation is also very effective where personal feelings are
                getting in the way of a resolution. This is because mediation normally gives the parties a chance
                to express their feelings and find out how the other sees things.

            •   Mediation may not be effective when one party is unwilling to cooperate or compromise or
                when one of the parties has a significant advantage in power over the other. Therefore, it may
                not be a good choice if the parties have a history of abuse or victimization.




LAA0R00S (Rev. 03/17)
LASC Adopted 10-03
Cat. Rules of Court, rule 3.221

                                                     Page 2 of 4
 Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 63 of 65 Page ID #:71




             * Arbitration

                 In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                 side and then decides the outcome bf the dispute. Arbitration is typically less formal than a
                 trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                 blndlng." Binding arbitration means the parties waive their right to a trial and agree to accept
                 the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                 request a trial if they reject the arbitrator's decision.

                Arbitration is best for cases where the parties want another person to decide the outcome of
                their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                also be appropriate for complex matters where the parties want a decision-maker who has
                training or experience in the subject matter of the dispute.


            •    Mandatory Settlement Conference (MSC)

                Settlement Conferences are appropriate in any case where settlement is an option.
                Mandatory Settlement Conferences are ordered by the Court and are often held near the date
            '   a case is set for trial. Hie parties and their attorneys meet with a judge who devotes his or her
                time exclusively to preside over the MSC The judge does not make a decision in the case but
                assists the parties In evaluating the strengths and weaknesses of the case and in negotiating a
                settlement.

                The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                charge and staffed by experienced sitting civil judges who devote their time exclusively to
                presiding over MSCs. The judges participating in the judicial MSC program and their locations
                are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                at http://www.lacourt.org/. This program is available in general jurisdiction cases with
                represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                asbestos calendar court in CCW.

                In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                the program. Further, all parties must complete the Information requested in the Settlement
                Conference Intake Form and email the completed form to mscdeptl8@lacourt.org.




LAADR 005 {Rev. 03/17)
LASC Adopted 10-03
Cat. Rules of Court, rule 3.221

                                                      Page 3 of 4
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 64 of 65 Page ID #:72




Additional Information

To locate a dispute resolution program or neutral in your community:
                                                     f

    •   Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
        Center toll free at 800-952-5210, or;
    •   Contact the local bar association {http://www.lacba.org/) or;     '
    •   Look in a telephone directory or search online for "mediators; or "arbitrators."

There may be a charge for services provided by private arbitrators and mediators.


A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
httD://calbar.ca.gov/Attornevs/MemberServices/FeeArbltration/ADprovedPrograms.a$px#19



To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in los Angeles County is
available at the link below.

http://css.lacountv.eov/proerams/dispute-resolution-program-drp/



                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213)386-3995




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LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                     Page 4 of 4
Case 2:18-cv-05499-R-SK Document 1-1 Filed 06/20/18 Page 65 of 65 Page ID #:73




LASC - FILINGS
11.1 N. HILL STREET
LOS ANGELES CA 9001J
                                                       '"i


DATE PAIDs 05/22/18 04 ,-00 PM
RECEIPT #s CCH61231502?

CIT/CASE s               BC7Q691?
LEA/DEF# n        2}




PAYMENTs    •Si ,435.00                                            310
RECEIVED;
   CHECK s                                           $1,435.00
   CASH s                                                     $0,00
   CHANGE s                                                   $0.00
   CARD s                                                     $0,00
